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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY

     IN RE: JOHNSON & JOHNSON TALCUM Civil Action No. 3:16-md-
     POWDER PRODUCTS MARKETING,      2738-FLW-LHG
     SALES PRACTICES, AND PRODUCTS
     LIABILITY LITIGATION            MDL No. 2738


     THIS DOCUMENT RELATES TO ALL
     CASES



       THE PLAINTIFFS’ STEERING COMMITTEE’S MEMORANDUM IN
        RESPONSE AND OPPOSITION TO JOHNSON & JOHNSON AND
      JOHNSON & JOHNSON CONSUMER INC.’S MOTION TO EXCLUDE
          PLAINTIFFS’ EXPERTS’ ASBESTOS-RELATED OPINIONS
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    I.    INTRODUCTION

          Under any measure, the presence of asbestos in Johnson & Johnson’s Talcum

    Powder Products poses a serious threat to the American women who have used those

    products for decades. Even Johnson & Johnson (“J&J”) has been forced to

    acknowledge this common-sense notion, bowing to the unassailable fact derived

    from decades of research that asbestos is extremely harmful, and to the reality that

    it is too often fatal. As J&J’s corporate representative Susan Nicholson put it, “I

    would not support Johnson & Johnson selling a product that contained asbestos,”

    because “it would be wrong”. 1

          Regrettably, in its Motion to Exclude Plaintiffs’ Experts’ Asbestos-Related

    Opinions,2 J&J resorts to unsupported distinctions in terminology and blind

    indifference to the facts and the science that support the PSC’s experts’ opinions.

    This Court should reject J&J’s arguments for the reasons that follow.

          First, in an effort to avoid liability and cast doubt on the PSC’s experts’

    opinions, J&J attempts to re-imagine standard, scientifically accepted definitions of



    1
      See July 26, 2018 Deposition of Susan Nicholson (J&J’s 30(b)(6) witness for
    safety) at 34:10-35:5; 48:14-49:14, attached hereto as Exhibit 1; November 16,
    2018 Expert Report of Mark Krekeler, Ph.D. (“Krekeler Report”) at 7, attached
    hereto as Exhibit 2.
    2
     Johnson & Johnson and Johnson & Johnson Consumer Inc.’s Memorandum of
    Law in Support of Motion to Exclude Plaintiffs’ Experts’ Asbestos-Related
    Opinions (ECF. Dkt. No. 9736-3) (referred to herein as “J&J’s Mem.” or “Def.
    Mem.”) The underlying motion will be referred to as “J&J’s motion.”
                                             1
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  asbestos fibers set by industry regulators—while falsely accusing the PSC’s experts

  of re-defining “asbestos.” The Court should not fall for this ruse. The Environmental

  Protection Agency has rejected J&J’s precise argument, finding that there is no

  supportable distinction between “asbestos” and so-called “cleavage fragments.” This

  conclusion is fatal to J&J’s entire motion.

        Second, J&J spends dozens of pages criticizing Drs. William Longo and Mark

  Rigler’s methodology, largely by insisting on the false distinction regarding

  cleavage fragments described above and by attempting to add requirements that are

  not included in relevant industry standards. The PSC’s experts fully followed

  relevant scientific testing methodologies that have been adopted by the broader

  scientific community. J&J’s criticisms are unavailing.

        Third, the scientific literature fully supports a correlation between asbestos

  exposure and ovarian cancer. This correlation is not reasonably debatable.

        Finally, the overwhelming weight of the evidence in this case supports the

  conclusion that the talc deposits in Italy, Vermont, and China utilized by J&J for its

  Talcum Powder Products were contaminated by asbestos. This conclusion flows

  from both the scientific literature and J&J and Imerys Talc America’s (“Imerys”)

  own documents. In this regard, the PSC’s experts’ opinions are consistent with J&J’s

  own testing.

        For all these reasons, the Court should deny J&J’s motion.

                                            2
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  II.    BACKGROUND

        As background, this Court should be aware that (1) scientific literature and

  documents produced by both J&J and Imerys in this litigation fully establish the

  presence of asbestos in the talc mines from which J&J obtained its raw materials;

  (2) contrary to J&J’s assertions, the scientific literature fully supports the association

  between asbestos and ovarian cancer; and (3) the very experts whose testimony J&J

  seeks to exclude have been permitted to testify concerning the issues presented in

  this case in courts around the country.

        A.     The Scientific Literature and J&J’s and its Suppliers’ own
               documents fully establish the presence of asbestos in the mines and
               materials used in J&J Talcum Powder Products

        From 1926 through the present, J&J sourced talc for its Talcum Powder

  Products from three main regions: Italy’s Chisone Valley district (1926-1970s),3

  Vermont (mid-1960s to 2003), 4 and the Guangxi province of China (2003 to

  present). These talc deposits contain as a natural part of their geologic formation

  varying concentrations of platy talc, fibrous talc (or talc formed in an asbestiform


  3
    Talc sourced from the Fontane Mine in the Val Chisone Valley in Italy was
  designated after beneficiation as EGAT EXTRA 00000 or 1615 AGIT. See January
  22, 2019 Amended Rule 26 Expert Report of Robert B. Cook, Ph.D. (“Cook
  Report”) at 4, attached hereto as Exhibit 3; Krekeler Report at 7-8 (citing IMERYS
  077321, IMERYS 334779 and IMERYS 117598), attached hereto as Exhibits 4, 5,
  and 6.
  4
   Talc sourced from the Vermont Mines (Johnson, Hammondsville, Hamm, Black
  Bear, and Argonaut mines) was referred to after beneficiation as Grade 66. See
  Amended Cook Report at 5.
                                              3
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  habit), asbestos (both serpentine and amphiboles), 5 and heavy metals such as nickel,

  chromium, and cobalt. 6 The evidence for the presence of these constituents arises

  from three sources: 1) published literature; 2) historical tests memorialized in

  corporate documents; and 3) the testing of historical samples by Drs. Longo and

  Rigler.

                1.   Published literature describing the mineralogy of the regions
                     from which J&J sourced its talc provides evidence that the
                     mines contain asbestos and fibrous talc

        An understanding of the regional geology where the talc was mined is

  important in order to evaluate the unique features of individual mineral deposits.

  Although the individual conditions and contents of a talc deposit must be assessed,

  the specific mineral occurrence does not happen in a vacuum but in the context of


  5
    Asbestos is the generic designation for a group of naturally occurring mineral
  silicate fibers of the serpentine and amphibole series.

                 Mineral Group                     Mineral Type
            Serpentine                  Chrysotile
            Amphibole                   Actinolite, Amosite, Anthophyllite,
                                        Crocidolite, Tremolite
  See International Agency for Research on Cancer. IARC Monographs on the
  Evaluation of Carcinogenic Risk of Chemicals to Humans, Volume 100C. Arsenic,
  metals, fibres, and dusts. Lyon, France: IARC; 2012 (hereinafter referred to as
  IARC, 2012), attached hereto as Exhibit 7.
  6
   The evidence relating to the presence of heavy metals will be set forth in the
  Plaintiffs’ Steering Committee’s Response and Opposition to Johnson & Johnson
  and Johnson & Johnson Consumer, Inc.’s Motion to Exclude Plaintiffs’ Experts’
  Opinions Regarding Alleged Heavy Metals and Fragrances in Johnson’s Baby
  Powder and Shower-to-Shower.
                                           4
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  the regional geology. The geologic features of the locations from which J&J sourced

  its Talcum Powder Products are such that the presence of asbestos and fibrous talc

  is an expected occurrence.

          Talc is a soft magnesium silicate mineral with the formula Mg 3 Si 4 O 10 (OH) 2 .

  “Talc particles are normally plate-like . . . [but] may also form true mineral fibers

  that are asbestiform in habit.” 7 Talc is formed through the alteration of two types of

  pre-existing rocks: dolomitic carbonates (as in Italy and China), or ultramafic rocks

  (as in Vermont). These pre-existing rocks have their own characteristic composition

  and associated constituents, as do the minerals derived from them.

          Talc and serpentinites (including chrysotile asbestos) are both natural

  alteration products from the same pre-existing ultramafic rock, and they are

  commonly found in close proximity. Talc is also a product of the metamorphosis of

  amphiboles, a mineral species which includes several types of asbestos (including

  tremolite, actinolite and anthophyllite). The alteration process is not always

  completed as the temperature and pressure change, leaving a mixture of talc and

  serpentinites and/or amphiboles, or even transition particles which retain the




  7
      IARC, 2012 at 230.
                                               5
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  characteristics of both minerals. 8vThus, by virtue of the manner in which talc is

  formed, geologically it is commonly associated with asbestos minerals.

        Italian talc deposits located in the Val Chisone Valley where J&J talc was

  sourced, were derived from carbonate rock and have been shown to contain

  accessory minerals such as asbestos (asbestiform tremolite and actinolite) and

  chlorite minerals. 9 The presence of asbestos in these Italian talc deposits is described

  in a 1990 publication by Marconi and Verdel. 10 In 2009, a report from an Imerys

  Talc America, Inc. predecessor company (Luzenac) described the accessory

  minerals of the Val Chisone talc deposits to include actinolite-tremolite, quartz,

  anthophyllite, and serpentine family minerals. 11



  8
   Van Gosen BS, Lowers HA, Sutley SJ, Gent CA. 2004. Using the geologic setting
  of talc deposits as an indicator of amphibole asbestos content. Environmental
  Geology. 45(7):920-939, attached hereto as Exhibit 8; Virta, Robert L. The Phase
  Relationship of Talc and Amphiboles in a Fibrous Talc Sample” Bureau of Mines
  Report of Investigations (1985), attached hereto at Exhibit 9.
  9
   Krekeler Report at 9, citing IMERYS 245144, attached hereto as Exhibit 10;
  IMERYS 467511, attached hereto as Exhibit 11; IMERYS-A_0024548, attached
  hereto as Exhibit 12; JNJ 000521616, attached hereto as Exhibit 13;
  JNJAZ55_000006341, attached hereto as Exhibit 14; JNJMX68_000017827,
  attached hereto as Exhibit 15; WCD_002478, attached hereto as Exhibit 16.
  10
    Marconi A, Verdel U. 1990. Asbestos content of talcs from Italian mines and fibre
  concentration in various commercial talcum powders used in Italy. In: Bignon J.
  (eds) Health Related Effects of Phyllosilicates. NATO ASI Series (Series G:
  Ecological Sciences), Vol. 21. Springer, Berlin, Heidelberg, attached hereto as
  Exhibit 17.
  11
     See August 7, 2018 Deposition of Patrick Downey, an Imerys corporate
  representative (“Downey Dep.”) attached hereto as Exhibit 18.
                                             6
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           The Vermont deposits that sourced J&J’s Talcum Powder Products from 1963

  to early 2003 were derived from altered ultramafic rocks or serpentinites. 12 The

  Vermont talc source mines were the Johnson, Hammondsville, Hamm, Rainbow,

  and Argonaut mines. 13 J&J owned the mines through its subsidiary, Windsor

  Minerals, Inc., from the mid-1960s until 1989. The Vermont mines and processing

  facilities were purchased from J&J by Cyprus Minerals and later acquired by Imerys

  Talc America, Inc. 14 In addition to sourcing talc for cosmetic products, these mines

  were also used to source industrial products.

           The first comprehensive description of the Vermont talc deposits was written

  by A.H. Chidester in 1951, 15 with another analysis by Charles A. Ratté being

  published in 1982. These analyses of the regional geology of Vermont talc deposits

  describe the ultramafic origin of the talc and the association of serpentine-derived

  talc and asbestos deposits. 16 The asbestos minerals that occur in these talc-bearing


  12
       See Amended Cook Report at 4; see also “Krekeler Report” at 4-5.
  13
       See Amended Cook Report at 5.
  14
       Downey Dep. at 132:8-22.
  15
    Chidester AH, Billings MP, and Cady WM. 1951. Talc Investigations in Vermont-
  Preliminary Report. U.S. Geological Survey Circular, Series No. 95, attached hereto
  as Exhibit 19.
  16
     Ratté Charles A. 1982. Mineral Resource Provinces of Vermont. Vermont
  Geological Survey, DEC, attached hereto as Exhibit 20; see also Bain GW. 1934.
  Serpentinization, origin of certain asbestos, talc and soapstone deposits. Economic
  Geology. 29(4):397-400, attached hereto as Exhibit 21; Bain GW. 1942. Vermont
  talc and asbestos deposits. In Newhouse, W. H., ed., Ore deposits as related to
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  serpentinites include tremolite, actinolite, anthophyllite, and chrysotile. 17 These

  types of geologic analyses of Vermont talc deposits were previously reported in the

  1991 published work of Dr. Alice Blount, a Professor of Geology at Rutgers

  University. Dr. Blount tested talcum powder sourced from Vermont and found that

  it contained asbestos. 18 Dr. Blount testified that the Vermont talc that she tested was

  actually J&J Baby Powder that she purchased off of the shelf in New Jersey. 19

          In addition to chrysotile and amphibole asbestos, the Vermont deposits also

  contain fibrous talc. 20 During the metamorphic process, amphiboles undergo



  structural features. Princeton University Press, 255 – 258, attached hereto as
  Exhibit 22; see also Van Gosen (2004).
  17
       See Van Gosen (2004).
  18
    Blount, AM. 1991. Amphibole Content of Cosmetic and Pharmaceutical Talcs.
  Environmental Health Perspectives. 94:225-230, attached hereto as Exhibit 23.
  19
    See J&J 220, attached hereto as Exhibit 24; see also April 13, 2018 Deposition of
  Alice M. Blount, Ph.D., Ingham v. Johnson & Johnson, et al. at 10, 25, 30, attached
  hereto as Exhibit 25.
  20
     In 1987, IARC evaluated the carcinogenicity of talc and concluded that there was
  sufficient evidence that talc containing asbestiform fibers was carcinogenic to
  humans. IARC Monograph on Silica and Some Silicates (1987), relevant excerpts
  attached hereto as Exhibit 26; IARC Overall Evaluations of Carcinogenicity: An
  Updating of IARC Monographs Volumes 1 to 42, Supplement (1987), relevant
  excerpts attached hereto as Exhibit 27. To clarify terminology, IARC (2010) stated
  that “[t]he term ‘asbestiform fibre’ has been mistaken as a synonym for ‘asbestos
  fibre’ when it should be understood to mean any mineral, including talc, when it
  grows in an asbestiform habit.” IARC Monograph on Carbon Black, Titanium
  Dioxide, and Talc, Volume 93 (2010) at 39 (emphasis supplied), relevant excerpts
  attached hereto as Exhibit 28. It re-addressed the issue of carcinogenicity: “The
  present Working Group also decided to expand the name of the Group-1 agent from
  ‘talc containing asbestiform fibres’ to ‘talc containing asbestos or other asbestiform
                                             8
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  incomplete alteration to form transition fibers, composed of both fibrous talc and

  amphibole or serpentine. 21 When talc occurs in this form, it is considered to be in a

  fibrous form, or occurring in an asbestiform habit. Testing of samples from the

  Vermont mines done by Colorado School of Mines Research Institute in 1973 (and

  commissioned by J&J) showed that chrysotile asbestos, a component of the local

  Vermont serpentinite was altered in certain instances during the metamorphic

  process to form a fiber-like talc pseudomorph or fibrous talc. 22 Additional support

  for the formation of fibrous talc in Vermont deposits may be found in published




  fibres.’ Id. IARC, 2012 states that “the conclusions reached…about asbestos and its
  carcinogenic risks apply to these six types of fibres [chrysotile, actinolite, amosite,
  anthophyllite, crocidolite, and tremolite] wherever they are found, and that includes
  talc containing asbestiform fibres.” IARC, 2012 at 219 (emphasis added). It further
  differentiates the types of talc, indicating that “[t]alc may also form true mineral
  fibres that are asbestiform in habit.” IARC, 2012 at 230.
  21
       See Van Gosen (2004).
  22
    See Amended Cook Report at 28; see also See Chidester, AH. 1968. Evolution of
  the Ultramafic Complexes of Northeastern New England: Studies in Appalachian
  Geology, Chapter 26, John Wiley Interscience Publishers, New York, at 35, attached
  hereto as Exhibit 29.
                                            9
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  articles by Ross (1968), 23 Stemple (1960), 24 and Virta (1985), 25 which describe the

  pseudomorphism of asbestiform tremolite or anthophyllite into fibrous talc.

           Talc for J&J’s Talcum Powder Products is presently sourced from the Jizhua

  Mine in the Guangxi Province of China. The talc deposit was derived from the

  alteration of dolomitic carbonate rocks. 26 Chinese talc deposits are not as well

  characterized mineralogically in the literature, and specific mine documents such as

  drill core logs and drill core testing data, blast-hole testing data, mine planning

  documents and mine maps have not been produced. However, a publication by Yuya

  Li, entitled “Discussion of the Genesis of Longsheng Talc Mine in Guangxi

  Province,” describes the talc deposit as occurring in the setting of dolomite marble

  and spilite. 27 According to Li, spilite remains at a percentage of 8.14% on average




  23
    See Ross M, Smith WL, and Ashton WH. 1968. Triclinic Talc and Associated
  Amphiboles from Gouverneur Mining District, New York. The American
  Mineralogist. 53(5-6):751-769, attached hereto as Exhibit 30.
  24
     See Stemple IS, Brindley GW. 1960. A Structural Study of Talc and Talc-
  Tremolite Relations. Journal of the American Ceramic Society. Vol. 43, No. 1,
  attached hereto as Exhibit 31.
  25
       See Virta (1985).
  26
       See Amended Cook Report at 4.
  27
     Li, Yuya. 1979. Discussion on the Genesis of Longsheng Talc Mine in Guangxi
  Province. China National Exploration Center of Building Materials Industry,
  Guangxi Geological Team. (English translation of original Chinese publication);
  attached hereto at Exhibit 32.
                                           10
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  within the talc ore deposit and the “content of tremolite in spilite is 30-35%.”

  Tremolite is a member of the amphibole species of asbestos.

         The published geological literature makes it clear that the mines from which

  J&J’s Talcum Powder Products were sourced contain asbestos and fibrous talc.

                2.     Documents produced by J&J and Imerys Talc America, Inc.
                       in this litigation demonstrate that the mines that sourced
                       J&J’s talc and the Talcum Powder Products themselves
                       contain asbestos and fibrous talc

         J&J’s own documents make clear that the deposits from which it sourced the

  talc for the Talcum Powder Products contained asbestos. Since at least the late 1950s,

  J&J has been in possession of geological analyses and test results evidencing the

  presence of asbestos in talc ore used to source J&J’s Talcum Powder Products as

  well as in the finished products. Notably, in analyses performed by the Battelle

  Memorial Institute, dated May 28, 1958, tremolite and up to 10% fibrous talc was

  found in Italian talc ores. 28

         In 1970, J&J commissioned the Colorado School of Mines Research Institute

  to evaluate the geology and ore reserves of the Hammondsville mine. A

  comprehensive report was compiled which documented the presence of actinolite




  28
    See Exhibit 28 to Deposition of John Hopkins, Ph.D., attached hereto as Exhibit
  33; J&J 2, attached hereto as Exhibit 34.
                                           11
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  and tremolite in the mine. 29 A report in 1991 stated that: “Fibrous minerals -

  tremolite and actinolite are ubiquitous in several zones of the Vermont mines.” 30

           A 1991 analysis of samples taken from core drilling in the Hamm mine in

  Vermont stated, “Fibrous actinolite was seen in chloritic dikes and occasionally

  extended a few inches into the talc ore at contacts.” 31 “Every hole encountered at

  least one chloritized mafic dike containing actinolite.” 32 Additional core drilling was

  done in 1992 at the Hamm mine which identified fibrous tremolite. 33 The Argonaut

  mine in Vermont was described as containing “actinolite with chlorite cinders and

  serpentinite.” 34 In 1992, R.C. Munro prepared an analysis of the Vermont talc

  deposits, writing that a “serious mineralogical contaminant in the talc ores of

  Vermont is fibrous variety of the amphibole minerals, tremolite and actinolite

  (hydrous calcium iron-magnesium silicates) which have been classified as

  asbestiform minerals by OSHA and EPA.” 35

                       a.    The testing results in J&J’s possession further
                             demonstrate the presence of asbestos at J&J’s source
                             mines


  29
       See JNJ 000245002, at 104-105 and 114-115, attached hereto as Exhibit 35.
  30
       See IMERYS 425354 at 355, attached hereto as Exhibit 36.
  31
       See IMERYS 238270 at 273, attached hereto as Exhibit 37.
  32
       Id. at 276.
  33
       IMERYS 435992 at 994, attached hereto as Exhibit 38.
  34
       IMERYS 427291, attached hereto as Exhibit 39.
  35
       IMERSY 219720, attached hereto as Exhibit 40.
                                            12
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        Over the course of more than fifty years, J&J was aware of numerous positive

  test results confirming the presence of asbestos and fibrous minerals in its source

  mines. The tests were conducted on both ore and finished Talcum Powder Products.

        The testing methods used—i.e., the J4-1 method—will be discussed in

  relation to Drs. Longo and Rigler’s testing, but it should be understood that the J4-1

  method is a phased procedure with the initial step involving X-ray diffraction

  (XRD). Only if a test is positive by XRD would the sample be examined by the next

  step in the protocol, polarized light microscopy (PLM). If positive, the sample would

  then be examined under transmission electron microscopy (TEM). 36 A depiction of

  the J4-1 method is as follows: 37




  36
     See January 3, 1974 Johnson & Johnson memo from A. J. Goudie,
  JNJMX68_000017515, attached hereto as Exhibit 41.
  37
     See JNJNL61_000106449 (“D-7131”), October 7, 1976 CTFA Method J-41,
  attached hereto as Exhibit 42.
                                           13
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          Since at least the 1970s, J&J has acknowledged that “there seems to be general

  agreement that Transmission Electron Microscopy is the only absolute proof with

  electron diffraction for the identification of asbestos in talc.” 38 On the other hand,

  XRD—the only test performed on all samples—is wholly inadequate and does not

  test for chrysotile asbestos. Moreover, as explained further, the samples that were

  tested were not concentrated as recommended. Therefore, the detection limit of the

  testing was quite high – 0.5% and above. Positive test results should be evaluated in

  light of this high threshold. A “negative” test could have up to 0.5% asbestos and

  the results would be reported “not detected.” 39 Johnson & Johnson admits that a

  negative test does not mean that the product is asbestos free. 40

          In addition to focusing on the testing methods used, it is important to explain

  the frequency of historical testing. Asbestos testing at the mines was conducted on

  only one sample on a quarterly basis. 41 The testing was performed on a composite

  sample. The samples were created by taking a few ounces of ore from each multi-




  38
       See J&J employee A.J. Goudie Memorandum, dated January 3, 1974).
  39
       See Amended Cook Rpt. at 40-41.
  40
   See June 28, 2018 Deposition of Donald Hicks (J&J 30(b)(6) Corp. Rep.) (“Hicks
  Dep.”) at 143:23-146:11, attached hereto as Exhibit 43.
  41
    See September 13, 2018 Deposition of Julie Pier (Imerys 30(b)(6) Corp. Rep.)
  (“Pier Dep.”) at 401:3-21, attached hereto as Exhibit 44; see also id. at 573:10-21
  (Ms. Pier testifying that there in 2004 there was a backlog of samples of more than
  two years going back to 2001).
                                             14
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  ton lot produced during a quarter, combining that material, and then testing a small

  aliquot of the composite sample. Importantly, the talcum powder was not

  quarantined while the sample was being processed, but the material was allowed to

  proceed to bottling and the shelves of stores without any process in place to hold the

  product while testing was performed. 42

           For purposes of TEM testing, the amount of talcum powder analyzed is

  approximately .001 gram or 10 millionth of a gram. 43 Assuming that J&J and Imerys

  conducted quarterly tests each year for the last fifty years, the amount of J&J talc

  examined by TEM would be far less than 1 gram. To put that in perspective, J&J

  and Imerys tested talcum powder in an amount equivalent to the weight of a paper

  clip, all the while selling literally thousands of tons of J&J Baby Powder and Shower

  to Shower from the same lot while the test proceeded.

           A summary of the charts of positive asbestos test results identified by J&J or

  third-party labs acting on its behalf follows. 44 The chart includes the results of

  positive tests from the 1950s, 1960s, 1970s, 1980s, 1990s and 2000s. 45



  42
       See Hicks Dep. at 94:4-95:5.
  43
     Ingham, et al. v. Johnson & Johnson, et al., Tr. 5326 (June 6, 2018) (testimony
  of John Hopkins, J&J corporate representative), attached hereto as Exhibit 45.
  44
       Amended Cook Report at 13-21; Krekeler Report at 14-23.
  45
    The majority of the results reported in the tables in the Cook and Krekeler reports
  are composed of the results contained in Exhibit 28 to the Johnson & Johnson
  30(b)(6) deposition that was taken in the MDL. During the depositions of Johnson
                                             15
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                 Number      of
  Decade                        Source            Types of Asbestos Found
                 Positive Tests

  1950s          5 46           Italy             Tremolite

  1960s          1 47           Vermont           Altered amphiboles

                                                  Tremolite

                                                  Chrysotile

                                                  Anthophyllite
                      48
  1970s          47             Vermont
                                                  Actinolite

                                                  Amphibole – needles & bundles

                                                  Antigorite

                                                  Massive amphiboles

                                                  Chrysotile
  1980s          15 49          Vermont
                                                  Anthophyllite

                                                  Tremolite-actinolite


  & Johnson, John Hopkins, PhD, was asked on behalf of the company about each of
  the tests outlined in a chart which eventually became Hopkins Exhibit 28. Dr.
  Hopkins agreed to the test results as recorded in the chart.
  46
       See J&J 309; J&J 310; J&J 1; J&J 311, attached hereto as Exhibit 46.
  47
       See J&J-313, attached hereto as Exhibit 47.
  48
     See J&J-9; J&J-257; J&J-255; J&J-256; J&J-15; J&J-19; J&J-23; J&J-28; J&J-
  342; J&J-373; J&J-29; J&J-348; D-7; J&J-36, J&J-34, J&J-37; J&J-263; J&J-33;
  J&J-100; J&J-296; J&J-44; J&J-335; J&J-367; J&J-368; J&J-47; J&J-299; J&J-
  258; J&J-263; J&J-57; J&J-58; J&J-65; J&J-66; J&J-366; J&J-370; J&J-74; J&J-
  75; J&J-89; J&J-92; J&J-297; J&J-97; IMERYS210810; J&J-303; J&J-141; J&J-
  246; IMERYS210707; J&J-164; J&J-341, attached hereto as Exhibit 48.
  49
     See IMERYS 210707; J&J-169; J&J-175; J&J-305; J&J-179; J&J-177;
  JNJMX86_000013019; J&J-182; J&J-184; J&J-185; JNJ 000062176; J&J-190; J&J
  0144301; JNJNL61_000006792; JNJ 000223449, attached hereto as Exhibit 49.
                                            16
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                                           Tremolite

                                           Actinolite

                                           Chrysotile

                                           Antigorite

                                           Anthophyllite

  1990s      17 50          Vermont        Actinolite

                                           Tremolite

                                           Actinolite

                                           Fibrous amphiboles

                                           Chrysotile

                                           Tremolite

  2000-2006 11 51           Vermont        Anthophyllite

                                           Actinolite

                                           Tremolite




  50
    See J&J-0007797; J&J-0007801; JOJO-MA90013-0005; J&J 0007797; IMERYS
  238478; IMERYS 238468; IMERYS 238457; IMERYS 211157; J&J-327; J&J-202;
  IMERYS 219720; IMERYS 051370; IMERYS 238270; IMERYS 051442;
  IMERYS 051436; IMERYS 442232; JNJ 000063951; JNJMX68_000004296;
  IMERYS 548407, attached hereto as Exhibit 50.
  51
    See IMERYS 548366; IMERYS 189001; IMERYS 130504; IMERYS 130504;
  IMERYS 130504; IMERYS 130504; IMERY S499486; IMERYS 499264; JNJ
  000375383; IMERYS 533753; IMERYS 533694, attached hereto as Exhibit 51.
                                      17
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           The presence of asbestos minerals in J&J’s talcum powder is not limited to

  Italian and Vermont talc. Asbestos was also reported in Chinese talc in 2009 52 and

  in 2010, Ed McCarthy, the Technical Director for Imerys, reported tremolite in

  Chinese talc ores. 53 Testing indicated the presence of chrysotile particles in Chinese

  talc as recently as 2016. 54

                       b.        J&J likewise identified fibrous talc during testing

           Fibrous talc has been reported on numerous occasions in both talc ore and J&J

  Talcum Powder Products. Fiber-like talc was found in analyses by commercial labs

  and others as early as the 1970s. 55 In a 1971 report to J&J, the Colorado School of

  Mines Research Institute identified both talc and non-talc needles in Italian talc

  product. 56 In a 1970 report, petrographic examination of thin sections from the

  Hammondsville mine (Vermont) showed that up to 20% of the talc ore was fibrous. 57

  Between 1974 and 1977, McCrone evaluated various samples submitted by J&J’s

  Windsor Minerals and found they contained fibrous talc. 58 A memorandum

  submitted from J&J’s outside testing lab R. J. Lee Group indicated, as recently as


  52
       See IMERYS 309326, attached hereto as Exhibit 52.
  53
       See IMERYS 081025, attached hereto as Exhibit 53.
  54
       See JNJ 000521616, attached hereto as Exhibit 54.
  55
       See IMERYS 210707 at 802, attached hereto as Exhibit 55.
  56
       See J&J 256, attached hereto as Exhibit 56.
  57
       See JNJ 000245005 at 040, attached hereto as Exhibit 57.
  58
       See IMERYS 210707, attached hereto as Exhibit 58.
                                               18
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  2009, that fibrous talc was present in talcum powder used to source J&J Talcum

  Powder Products. 59

           A summary of the charts of positive fibrous talc test results that appear in the

  reports of Drs. Cook and Krekeler reports is provided below. 60 The chart includes

  the results of positive tests arising from the 1940s, 1950s, 1970s, 1980s, and 1990s.

                 Number      of
  Decade                        Source              Types of Asbestos Found
                 Positive Tests

  1940           1 61             Italy             fibrous talc

  1950           1 62             Italy             fibrous talc 8-10%

  1970s          33 63            Vermont           fibrous talc 10-20%


  59
       See JNJ 000092227, attached hereto as Exhibit 59.
  60
       Amended Cook Report at 21-28; Krekeler Report at 23-29.
  61
     See JNJ 000085374, attached hereto as Exhibit 60; JNJNL61_000000266,
  attached hereto as Exhibit 61.
  62
       See JNJNL61_000001341, attached hereto as Exhibit 62.
  63
    See JNJS71R_000001978; JNJ 000234805; JOJO-MA2330-0001;
  JNJNL61_000024657; JNJNL61_000024650; JNJNL61_000032036;
  JNJNL61_000023234; JNJ 000229914; JNJNL61_000024449; JNJ 000238826;
  JNJ 000248023; JNJ 000314680; JNJNL61_000025152; JNJS71R_000009825;
  JNJS71R_000007083; JNJS71R_000000139; JNJ 000086280; JNJ 000232897;
  JNJS71R_000002199; JNJ 000246844; JNJ 000346572; JNJ 000222851;
  JNJ000252742; JNJS71R_000011316; JNJNL61_000064162;
  JNJNL61_000064161; JNJNL61_000006591; JNJNL61_000043243;
  JNJNL61_000043244; JNJNL61_000043245; JNJNL61_000043246;
  JNJNL61_000006591; JNJNL61_000027053; JNJ 000065666; IMERYS 210824;
  JNJ 000346747; IMERYS 210700; IMERYS 210701; JNJNL61_000043271;
  JNJNL61_000043272; JNJNL61_000006591; JNJ 000314406; IMERYS 210810;
  IMERYS 210811; IMERYS 210812; IMERYS 210801; IMERYS 210802;
  IMERYS 210803; IMERYS 210794, attached hereto as Exhibit 63.
                                              19
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                                 Italian           Talc needles 0.65-2.2%

                                                   Talc fibers

                                                   Fibrous talc particles

                                                   Fibrous talc 1%

  1980s          3 64            Vermont           fibrous particles

                                                   Fibrous talc
                     65
  1990s          2               Vermont
                                                   Fibrous structures indicative of talc

                                 Italian           Fibrous talc
                     66
  Undated        2
                                 Vermont           Talc fibers



          The positive test results for asbestos and fibrous talc are consistent with the

  published geological literature and make clear that the mines from which J&J’s

  Talcum Powder Products were sourced as well as the finished products, contained

  asbestos and fibrous talc for decades.

          B.    The results of the testing of historical J&J talcum powder samples
                by Drs. Longo and Rigler are consistent with the published
                literature and testing done by J&J and Imerys Talc America, Inc.




  64
    See IMERYS 210788; IMERYS 210789; IMERYS 210790; IMERYS 210791;
  IMERYS 210792; IMERYS 210793; IMERYS 210794; IMERYS 210795;
  IMERYS 210796; IMERYS 210797; IMERYS 210798; IMERYS 210799;
  IMERYS 210758; IMERYS 210724, attached hereto as Exhibit 64.
  65
    See JNJ 000281919; JNJ 000281921; IMERYS 477879, attached hereto as
  Exhibit 65.
  66
       See JNJ 000260807; JNJ 000269904, attached hereto as Exhibit 66.
                                             20
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           Dr. William Longo and Dr. Mark Rigler tested historical J&J Talcum Powder

  Product samples produced in this litigation. 67 All of the samples tested were finished

  product taken straight from J&J Baby Powder and Shower to Shower historical

  bottles. The Imerys rail car samples are samples of milled product (or processed

  product) taken just prior to the talcum powder being shipped for bottling. 68

           Drs. Longo and Rigler found that approximately 67% of the samples

  contained amphibole asbestos. 69 By sample type, 19 of 28 (68%) J&J’s Baby Powder

  samples were positive for amphibole asbestos, 17 of 22 (77%) Shower to Shower

  samples were positive for amphibole asbestos, and 8 of 15 (53%) samples taken from

  Imerys’ individual railcars were positive for amphibole asbestos.

           Importantly, Dr. William Longo found fibrous talc in recent studies of

  historical samples. In their January 15, 2019 report, Drs. Longo and Rigler reported

  that 54 of the 55 samples tested using the ISO 2262-1 PLM method contained fibrous

  talc, or 98%. The Blount/PLM method showed that 20 of 71 samples contained

  fibrous talc, or 28%.




  67
    See January 16, 2019 First Supplemental Rule 26 Expert Report of Dr. William E.
  Longo and Dr. Mark W. Rigler (“Longo and Rigler First Supp. Report”), attached
  hereto as Exhibit 67.
  68
       Pier Dep. at 108:3-13.
  69
       See Longo and Rigler First Supp. Report.
                                            21
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        The overarching focus of J&J’s motion is that Drs. Longo and Rigler failed to

  use a reliable methodology and that the results from the tests they performed should

  therefore be excluded. As will be outlined in greater detail below, Drs. Longo and

  Rigler used generally accepted and reliable methods to test the historical talcum

  powder samples produced in this litigation. To be clear, these same methods were

  advocated and used by J&J experts repeatedly. Their findings and conclusions stand

  alone. The results of Drs. Longo and Rigler’s testing should not be viewed in a

  vacuum, however. The results are consistent with what is known about the geology

  of the talc deposits used to source J&J’s Talcum Powder Products. Moreover, the

  results are consistent with historical test results in J&J’s possession which also reveal

  the presence of asbestos and fibrous talc. These facts further underscore and support

  the reliability of Drs. Longo and Rigler’s testing.

        C.     Drs. William Longo and Mark Rigler are eminently qualified, and
               their testimony and opinions have been accepted by numerous
               courts

               1.     Dr. William Longo

        Although J&J does not directly challenge Drs. Longo’s and Rigler’s

  qualifications as experts in their respective fields, their respective curriculum vitae

  clearly demonstrate that they are qualified to testify in this case. 70




  70
    See Longo CV, attached hereto as Exhibit 68; see also Rigler CV, attached
  hereto as Exhibit 69.
                                              22
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             Dr. Longo has a Bachelor of Science degree in Microbiology, a Master of

  Science degree in Engineering, and a Doctorate of Philosophy in Materials Science

  from the University of Florida. 71 Since 1987, Dr. Longo has been employed as

  President of MAS, LLC. 72 For the last thirty years, Dr. Longo has studied the

  content, type, and release of asbestos fibers from asbestos-containing products. 73 As

  a materials scientist, Dr. Longo studies the relationships among structure, properties,

  synthesis, and performance of a wide range of materials. 74 In his work, Dr. Longo

  examines why and how materials behave under various conditions, such as

  temperature, pressure, stress or exposure to climatic conditions, and how materials

  are used in every aspect of people’s lives. 75 Dr. Longo is a member of numerous

  organizations and professional groups specializing in the testing and analysis of

  asbestos-containing materials, including the Environmental Protection Agency

  (EPA) Peer Review Group for the Asbestos Engineering Program, the American

  Industrial Hygiene Association (AIHA), Materials Research Society, American

  Society for the Testing of Materials (ASTM), and the American Society of




  71
   Id.; see also February 5, 2019 Deposition of William E. Longo, Ph.D. (“Longo
  MDL Depo.”) at 347:23-351:10, attached hereto as Exhibit 70.
  72
       Longo CV.
  73
       Id. at ¶ 3.
  74
       Id. at ¶ 4.
  75
       Id.
                                            23
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  Materials. 76 Dr. Longo has given numerous lectures on the proper protocol to be

  used when analyzing the behavior of asbestos products, including “Settled Dust:

  Asbestos and Other Particulates,” “The Role of the Laboratory Manager, Quality

  Assurance Officer and the Analyst for NIST Accreditation,” and “Fundamentals of

  Asbestos Analysis by TEM.” 77

             At MAS, Dr. Longo analyzes and studies a wide spectrum of products and

  associated chemicals, including the levels of asbestos fibers released under certain

  circumstances. 78 Dr. Longo performs these tests under rigorously controlled

  laboratory conditions following the governmental standards promulgated by NIOSH

  and the EPA. 79 As a member of ASTM, Dr. Longo was responsible for writing the

  ASTM asbestos dust analysis standards. 80

             In addition, Dr. Longo has published numerous articles on the subject of the

  analysis and testing of asbestos-containing materials, including the quantification of

  asbestos particles released upon manipulation of these asbestos products in the

  manner performed in the work environment. 81 His articles include Demonstration of



  76
       Id. at ¶ 7.
  77
       Id.
  78
       Id. at ¶ 6.
  79
       Id.
  80
       Id.
  81
       Id. at ¶ 8.
                                              24
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  the Capability of Asbestos Analysis by Transmission Electron Microscopy in the

  1960’s in Microscope; Asbestos Exposure During and Following Cable Installation

  in the Vicinity of Fireproofing in Environmental Choices Technical Supplement;

  Fiber Release During the Removal of Asbestos-Containing Gaskets: A Work

  Practice Simulation, published in the Applied Occupational and Environmental

  Hygiene Journal in 2002; and Zonolite Attic Insulation Exposure Studies, in the

  International Journal of Occupational Environmental Health (2010). 82

             Finally, Dr. Longo consults with plaintiffs’ firms, defense firms, and outside

  of litigation with well-known companies such as Hitachi, Intel, BMW, Honda, Dow,

  and others. 83 Dr. Longo regularly performs work for clients not involved in litigation

  and utilizes the same generally accepted methodologies and analysis for testing

  outside of litigation as he does in the courtroom. 84 Dr. Longo has, unsurprisingly,

  been the subject of Daubert challenges—as have most experts in litigation. Dr.

  Longo’s testimony has been overwhelmingly admitted in the face of such challenges,

  contrary to J&J’s representations, in this decade and those prior. 85 More importantly

  and directly relevant to this case, Dr. Longo’s testimony with respect to MAS’s



  82
       Id.
  83
       Id. at ¶ 9.
  84
       Id. at ¶ 10.
  85
    See Exhibit 71, Longo and MAS admissions spreadsheet, attached hereto; see
  also Longo MDL Depo at 351:11-21.
                                               25
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  testing of J&J talcum powder and corresponding findings has been admitted in the

  vast majority of courts in which he has been proffered as an expert. 86

             Dr. Longo’s prior testimony regarding MAS’s testing of J&J Talcum Powder

  Products in trials across the country clearly demonstrates his qualifications and the

  foundation for the testing methodology.

             •     The Herford case in Los Angeles, California. 87 The court determined

  that Dr. Longo’s testimony was admissible circumstantial evidence of the plaintiff’s

  asbestos exposures from the product; Dr. Longo’s methodology was scientifically

  supported; and the disagreements among the expert witnesses should be decided by

  the jury. 88

             •     The Lanzo case in New Jersey. 89 After a preliminary hearing, Judge

  Viscomi determined that Dr. Longo’s testimony was admissible, and that the

  defendants’ cross-examination point affected only the weight of the evidence.

              “What the Court found compelling was the testimony of Dr. Longo
             insofar as he found that by doing the testing, the consistency of the
             product throughout and some of the tests that he conducted revealed the
             presence of asbestos. Some did not and so based upon his argument as
             to the consistency, which the Court found compelling, as to it being an
             indicia of reliability, the Court finds that it would be appropriate to deny



  86
       Id.
  87
       See Exhibit 72, Herford case, attached hereto.
  88
       Id.
  89
       See Exhibit 73, Lanzo case, attached hereto.
                                                 26
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             the motion to exclude, allow the testimony, but certainly there are issues
             that would go to the weight of the evidence.” 90

             •      The Anderson case in California. 91 Dr. Longo was admitted “to testify

  as to the methods he used in regard to analyzing samples and his analyzation [sic] as

  to other items as well. I think that’s a determination for the jurors to make in regard

  to whether or not they accept his opinion or not and what weight they give his

  opinion. So, the court would allow Dr. Longo’s methodology or his methods that he

  relied upon in regard to testing and any other test results that he may testify to….” 92

             •      The Boyd-Bostic case in South Carolina. 93 The court determined that

  Dr. Longo has specialized knowledge that would assist the trier of fact, and is

  qualified by his knowledge, skill, experience, training, and education. 94 The court

  further determined that Dr. Longo’s testimony as to the presence or absence of

  asbestos in talcum powder products was admissible, especially talcum powder

  samples directly from J&J “because J&J would have had it for all that time period.” 95




  90
       Id. at 10.
  91
       See Exhibit 74, Anderson case, attached hereto at 1694:21-1695:3.
  92
       Id.
  93
       See Exhibit 75, Boyd-Bostic case, attached hereto at 98:1-100:8, 122:5-125:10.
  94
       Id. at 98:1-18.
  95
       Id. at 124:20-125:10.
                                                27
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              •   The Ingham case in St. Louis. 96 The court permitted Dr. Longo to

  testify, explaining his analysis, findings of bundles, findings of fibers, and number

  of fibers in bundles per gram of talcum powder. 97

              •   The Henry case in New Jersey. 98 The court permitted Dr. Longo’s

  testimony for the same reasons as in the Lanzo case. 99

              •   The Allen case in Humbolt County, California. 100 The court again

  permitted Dr. Longo to testify regarding his generally recognized and accepted

  methodologies. 101

              •   The Leavitt case in California. 102 The court admitted Dr. Longo as an

  expert on the topics of material science, testing for asbestos, bulk air and tissue, and

  assessment of exposure from an industrial hygiene approach.” 103




  96
    See Exhibit 76, Ingham case, attached hereto at 973:13-25, 979:15-982:9,
  985:12-986:16.
  97
       Id.; see also Ingham at 115:6-120:15, attached hereto as Exhibit 77.
  98
       See Exhibit 78, Henry case, attached hereto at 82:25-86:22.
  99
       Id.
  100
        See Exhibit 79, Allen case, attached hereto at 3133:16-3136:10.
  101
        Id.
  102
        See Exhibit 80, Leavitt case, attached hereto at 27:8-21, 52:18-22.
  103
        Id.
                                             28
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              •   The Olson case in New York. 104 The court permitted Dr. Longo to

  testify, concluding that J&J’s arguments were “a matter for the jury. It goes to the

  weight of the evidence, and it’s not something [for which] the [c]ourt can exclude a

  witness.” 105

              •   The Rimondi case in New Jersey. 106 The court determined that Dr.

  Longo “qualified as an expert in the fields of material scientist - - material science,

  testing of asbestos and assessment of asbestos exposures.” 107

              •   The Schmitz case in Alameda County California. 108 Dr. Longo was

  admitted to testify, with the court certifying Dr. Longo “as an expert in material

  science, forensic engineering, testing for asbestos, and exposure to asbestos.” 109

              •   The Sizemore case in South Carolina. 110 The court permitted Dr. Longo

  to testify regarding his testing, methodology, and findings, including the range of

  asbestos exposure experienced by talcum powder users. 111 The court concluded



  104
        See Exhibit 81, Olson case, attached hereto at 1456:2-1471:23.
  105
        Id.
  106
        See Exhibit 82, Rimondi case, attached hereto at 6:18-38:9.
  107
        Id.
  108
        See Exhibit 83, Schmitz case, attached hereto at 44:13-50:1.
  109
        Id. at 62:13-77:10.
  110
    See Exhibit 84, Sizemore case, attached hereto at 95:4-5, 96:16-97:3, 99:23-
  101:5, 102:14-25, 103:6-12.
  111
        Id. at 105:14-20, 107:20-108:6.
                                             29
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  “[a]nd all the other things you wish I would do about Dr. Longo - - …[t]hat big, huge

  hunk of paper that would exclude him or limit his opinions, I’m not going to do

  that.” 112

           Numerous juries throughout the country have been allowed to consider the

  evidence that is at issue here, including three juries in New Jersey state court. The

  Leavitt, Olson, Rimondi, and Sizemore juries have considered, and the Schmitz jury

  is considering, MAS’s testing and results conducted pursuant to this Court’s

  comprehensive, stipulated order in these proceedings. Conversely, the only court

  that has excluded the specific evidence at issue in this motion—that is, MAS talcum

  powder testing—did so without allowing oral argument or conducting a Rule 104

  hearing and not based on methodology, but concern about the chain of custody of

  the samples tested, a concern that is not present here. 113 The samples that MAS tested

  in the MDL were produced by J&J directly to the PSC in compliance with this

  Court’s order. 114

                  2.       Dr. Mark Rigler




  112
        Id. at 108:7-12.
  113
     See Tersigni Cert., Exhibit E16, attached hereto as Exhibit 85.
  114
     See Agreed Order and Stipulation Regarding the Johnson & Johnson Defendants’
  Production of Talcum Powder Products & Talc Samples (Dkt. 4032); Agreed Order
  and Stipulation Regarding Production of Talc Samples from Imerys Talc America,
  Inc. (Dkt. 4757).
                                             30
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              Dr. Rigler has a Bachelor of Science degree in biology from Villanova

  University, and also holds a Ph.D. in microbiology from the University of Georgia

  with a heavy emphasis on using electron microscopy techniques. 115 He has been

  trained in all phases of electron microscopy including morphological identification

  of tissues and materials, selected area electron diffraction (SAED), and energy

  dispersive x-ray analysis (EDS). 116 Dr. Rigler also understands the methods of tissue

  processing that are used by clinical pathologists, which include histological sample

  preparation for histological slide preparation and tissue analysis and identification at

  the optical microscopy level. 117 Dr. Rigler’s training and experience has included all

  phases of tissue preparation and tissue sectioning for transmission electron

  microscopy, including tissue preparation for scanning electron microscopy and

  tissue preparation for cryo-electron microscopy. 118

              Dr. Rigler previously worked as a licensed clinical electron microscopy

  Laboratory Director for the State of Georgia. 119 He is now employed at MAS, LLC

  as the Chief Science Officer and Senior Consultant, where for the last 25 years he




  115
     See Rigler CV; see also February 6, 2019 Deposition of Dr. Mark Rigler
  (“Rigler MDL Dep.”) at 219:21-220:8, attached hereto as Exhibit 86.
  116
        Rigler CV at ¶ 2.
  117
        Id.
  118
        Id.
  119
        Id. at ¶ 2.
                                             31
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  has directed the analysis of a variety of materials and biological tissues by

  transmission and scanning electron microscopy. 120 This work has included the

  analysis of mineralogical particulates and microfibers including tremolite, actinolite,

  anthophyllite, chrysotile, amosite, and crocidolite asbestos. 121

              Dr. Rigler has designed custom analytical protocols for product and chemical

  studies and has extensive laboratory management experience. 122 Dr. Rigler helped

  develop the quality control program at MAS which requires certification by the

  National Institute of Standards and Technology, National Voluntary Laboratory

  Accreditation Program (“NIST NVLAP”). 123 Dr. Rigler is responsible for ensuring

  that the studies conducted at MAS follow the quality protocols and standards

  required by various lab certification bodies. 124 Dr. Rigler has also testified in other

  litigation. 125 Although he has been the subject of Daubert challenges, Dr. Rigler’s

  testimony has never been excluded on Daubert grounds. 126

                    3.    MAS, LLC




  120
        Id. at ¶¶ 2-3; Rigler MDL Dep. at 220:20-223:2.
  121
        Rigler CV at ¶ 2.
  122
        Rigler MDL Dep. at 224:3-225-4.
  123
        Id. at 224:3-225-4.
  124
        Id. at 225:10-227:13.
  125
        See Rigler Affidavit at ¶ 3, attached hereto as Exhibit 87.
  126
        Id.
                                               32
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              MAS, LLC is a leading engineering consulting firm, which provides a broad

  range of services including environmental and industrial hygiene and emissions

  testing. 127 To perform its work, MAS has employees with expert knowledge of a

  broad range of fields including materials sciences, chemistry, physics, biology,

  industrial hygiene, geology, mechanical engineering, and microscopy. The

  American Industrial Hygiene Association has accredited MAS for measurement of

  asbestos fibers by phase contrast microscopy and for the analysis of bulk samples of

  asbestos. 128 In addition, the National Volunteer Laboratory Accreditation Program

  has certified MAS for measurement of bulk samples and air samples of asbestos.

  MAS also performs consulting work for government agencies such as the Centers

  for Disease Control and the National Institutes of Health. 129 Further, MAS worked

  as an expert for the City of New York and the State of New York in their respective

  litigation against asbestos companies. 130 MAS has been involved in testing asbestos-

  containing materials for over thirty years, and has analyzed hundreds of thousands

  of asbestos samples. 131 MAS has been retained by both plaintiffs and defendants in




  127
        See Longo Certification at ¶ 9, attached hereto as Exhibit 88.
  128
        Id. at ¶ 3.
  129
        Id. at ¶ 9.
  130
        Id.
  131
        Id.
                                              33
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  asbestos litigation. 132 MAS studies and videotape demonstrations are used for

  educational and training purposes in conjunction with the American Industrial

  Hygiene Association, American Society of Safety Engineers, the Environmental

  Institute, AHERA certification training and the U.S. Public Health Service. 133

              MAS utilizes multiple, standardized analytical techniques. The MAS methods

  include the very testing techniques routinely employed by and available to industry

  in the 1960s and 70s, as well as updated, standardized testing procedures. 134 For

  example, the aspect-ratio distribution for the asbestos fibers identified by Dr. Longo

  in his testing are virtually identical to a number of other analyses on undisputed

  asbestos samples, including those conducted by former consultant to J&J, Dr. Alice

  Blount, the National Institute of Standards Technology (NIST), and the United

  States Geological Survey (USGS).

              Drs. Longo and Rigler are uniquely qualified to analyze the asbestos content

  of the J&J Talcum Powder Products. Because Drs. Longo and Rigler have special

  knowledge, skill, experience, training, and education on the topics to which they

  may testify, their testimony is admissible under the Federal Rules of Evidence.

  III.        ARGUMENT



  132
        Id. at ¶ 11.
  133
        Id.
  134
        Id. ¶ 12.
                                               34
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        A.     Drs. Longo and Rigler did not “re-define” asbestos and they
               utilized recognized methodologies in conducting their analyses

        Contrary to J&J’s arguments, Drs. Longo and Rigler did not “re-define”

  asbestos or asbestiform materials to reach a desired result. Only J&J has engaged in

  such tactics. Instead, Drs. Longo and Rigler employed standard and scientifically

  accepted definitions and methodologies in conducting their analyses.

               1.    What is asbestos?

        Asbestos is defined, for health and regulatory purposes, by various agencies

  such as the Occupational Safety and Health Administration (OSHA), the Mine

  Safety and Health Administration (MSHA), and the United States Environmental

  Protection Agency (EPA). Two areas of critical inquiry in this case at this time are

  whether the talcum powder that Plaintiffs’ used (and were exposed to) contained

  asbestos, and whether such exposure provides a biologically plausible explanation

  for the cause of their ovarian cancer. This issue is one of health and safety, not an

  examination as to the commercial viability of asbestos.

        There are several definitions of asbestos that differ based on the use and

  context. The United States Geological Survey has explained this issue well:

        Asbestos has been defined by workers in many disciplines including
        those in the commercial asbestos industry and the mining industry, the
        public health community, those in the regulatory community, and the
        mineralogical and geological sciences. Many of these definitions are
        given in a compilation prepared by Lowers and Meeker (2002). It is
        clear from that compilation that the definition of asbestos (and related
                                           35
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              terminology) can vary depending on the source and purpose. For
              example, a definition of asbestos appropriate for the asbestos cloth
              industry, which might require a very long, thin, highly flexible fiber
              might be different from that used in the asbestos cement pipe industry
              which could utilize a more brittle and perhaps shorter and wider fiber.
              Both of these definitions could be vastly different from those used in
              the health community, where the concern is exposure, risk, and
              ultimately disease. 135

              The definition applied by J&J’s experts 136 is a commercial one used “for

  analysis of commercial-grade asbestos found in the workplace and in consumer

  products…. developed to specifically analyze for commercial-grade asbestos in

  media where there may be reason to expect its presence.” 137 Asbestos—as found in

  commercial asbestos products or an asbestos vein being analyzed for commercial

  viability—is entirely different from asbestos naturally occurring as an accessory

  mineral to talc. “In order to be of commercial value, asbestos must be in sufficient

  quality and purity for the application, and it must occur in sufficient abundance to

  be mined at a profit.” 138 This definition, while central in some contexts, is simply




  135
    See U.S. Geological Survey (“USGS”), Tabulation of Asbestos-Related
  Terminology (2002) at 37, attached hereto as Exhibit 89 (emphasis added).
  136
     This definition was offered by J&J’s expert Dr. Sanchez, who has not been
  identified as an expert in the MDL, but J&J’s position (here asserted by Drs. Dyar
  and Wylie) is the same.
  137
        USGS at 37.
  138
        Id.
                                                36
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  beside the point in the context of this litigation, which involves significant risks of

  cancer faced by American women. As the USGS has noted:

           [The] criteria sometimes employed for identification and
           characterization of commercial-grade asbestos … have not been
           shown to directly contribute to health effects and should not be the
           sole basis for exclusion of materials that may otherwise meet
           demonstrated health-related criteria such as length, width, bulk
           chemistry, and perhaps surface chemistry…. [T]he counting criteria
           developed for analysis of asbestos in the workplace or in commercial
           products may not be appropriate for direct application to what is
           currently referred to as naturally occurring asbestos. 139

  No one would suggest that the asbestos found as an accessory mineral in talc is a

  commercially viable source for asbestos mining—it is referred to instead as a

  “naturally occurring” component of a deposit being exploited for other reasons.

  Commercial viability may rest on factors wholly unrelated to health and welfare,

  including the location, amount, and extractability of the deposit. This case is not

  seeking an answer to the question: Are there commercially viable asbestos deposits

  within J&J’s source talc? Instead, the relevant inquiry is whether J&J’s products,

  specifically, its Talcum Powder Products, contained asbestos fibers that can cause

  disease. The only appropriate counting criteria and analysis methods are those

  applied by the regulatory agencies that evaluate and regulate asbestos-related health

  hazards. And importantly, the standards of the regulatory agencies that evaluate and




  139
        Id. at 42 (emphasis added).
                                            37
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  regulate asbestos-related health hazards 140—relied upon by MAS and Drs. Longo

  and Rigler—are devoid of any mandate that an analyst somehow meet the general

  definition of asbestos by analytically determining tensile strength and/or

  flexibility. 141

              Why are the standards devoid of such a mandate? The answer becomes clear

  when one simply asks: “What is high tensile strength?” 142

              Q. Well, I’m asking. Well, just -- candidly, chrysotile has one of the
                 highest tensile strengths out of any of the minerals that exist on
                 earth; right?

              A. It has a high -- but when you say a high tensile strength, what do you
                 mean?

              Q. Higher than other minerals.

              A. It doesn’t say that in the protocol.

              Q. I’m not saying higher than fishing line; right? We’re talking about
                 minerals here.

              A. You’re talking about minerals, but you’re putting a statement in that
                 is suggestive that somehow you have to make a determination if it
                 has, quote, a high tensile strength or high flexibility to be asbestos
                 versus cleavage fragments or particles of some sort. It’s just a
                 general definition. It’s not designed to actually measure any of this.

  140
     Pursuant to such standards amphibole fibers or bundles are “defined to have an
  aspect ratio equal or greater than 5-to-1 and a minimum length of 5.0” with
  substantially parallel sides. Longo MDL Dep. at 229:230:1; see also February 1,
  2019 Longo and Rigler 2nd Supplemental MDL Report (“2nd Supplemental MDL
  Report”) at 12, attached hereto as Exhibit 90.
  141
        Id.
  142
        Longo MDL Dep. at 390:11-17; see also id. at 389:24-390:10.
                                                  38
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              And when you get to tremolite and anthophyllite, if you want to say
              chrysotile has the highest tensile strength, they have the lowest. 143

           The most that J&J’s own expert, Dr. Dyar, could say on the matter was “the

  definition of a fiber includes the qualifier that it has to be flexible and have a high

  tensile strength”—she was unable to express any “analytical techniques used to

  measure tensile strength or flexibility,” much less define or outline parameters for

  determining what flexible is or when and whether tensile strength was high in accord

  with the definition.144

           Once a fiber is identified in accordance with the standard’s counting

  criteria 145, the method employed by MAS and Drs. Longo and Rigler mandates the

  additional steps to permit identification of the fiber as regulated asbestos or

  otherwise. 146 As Dr. Longo explained “[t]he whole protocol determines what is a




  143
        Longo Leavitt trial testimony at 390:22-392:21.
  144
     See Deposition of Melinda Darby Dyar, Ph.D. (“Dyar Dep.”) at 335:5-340:11,
  dated April 2, 2019 attached hereto as Exhibit 91.
  145
      Standard counting criteria relied upon by MAS and Drs. Longo and Rigler
  includes AHERA and ASTM. Admittedly, AHERA is used “to clear schools after
  abatement.” Longo Leavitt Dep. at 389:8-23. The ASTM method—with the same
  standard counting rules as AHERA—relied upon by MAS and Drs. Longo and
  Rigler, however, “has nothing to do with clearing schools, [y]ou could use it to see
  if there was contamination.” Id.
  146
        Longo MDL Dep. at 229:230:1; see also 2nd Supplemental MDL Report at 12.
                                              39
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  regulated asbestos, and then the asbestiform and high tensile strength is just a general

  definition.” 147

                 2.    Contrary to J&J’s arguments, regulators and scientists
                       involved in public health issues do not distinguish between
                       asbestos fibers and cleavage fragments

           The Court may wonder why there is a definitional divide between the parties.

  To be clear, it is J&J that is attempting to apply its own definition of “asbestos” in

  an effort to deflect scrutiny of the health hazards of its product—a tactic that is

  consistent with the strategy J&J has employed to evade and deflect throughout the

  last forty years. By simply redefining the term “asbestos,” J&J is arguing that fibers

  meeting the regulatory definition for asbestos are in fact non-asbestos “cleavage

  fragments.” This is important, of course, as fibers meeting the regulatory definition

  for asbestos have been found in both J&J’s talc ore and end-products.

           Asbestos fibers are not uniform. They come in an infinite variety of shapes

  and sizes. Below is a picture of chrysotile asbestos. In this picture alone, there are

  thousands of fibers of all different morphologies (shapes): long, short, fat, thin,

  straight, curved, bundled, alone, etc.




  147
        Longo & Rigler MDL Dep. at 230:8-17.
                                            40
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        Acknowledging asbestos fibers are not uniform, but come in an infinite

  variety of shapes and sizes, and that the accepted science is that all types of fibers

  can cause disease, the agencies that regulate asbestos have rejected the false

  distinction between “asbestos” and “cleavage fragments” that J&J is once again

  trying to foist on this Court. Responding to a report by the R.J. Lee Group—an expert

  J&J has previously utilized in talcum powder litigation, though not in this MDL—

  the EPA stated:

        The R. J. Lee Report Applies a Geologic Definition rather than
        a Public Health Definition to Characterize Microscopic Structures
        - The R. J. Lee Report relies heavily on the geologic distinction
        between asbestos fibers and cleavage fragments of the same
        dimensions, with the implication that exposure to cleavage fragments
        is benign and of little or no health significance. For the purposes
        of public health assessment and protection, EPA makes no
        distinction between fibers and cleavage fragments of comparable
        chemical composition, size, and shape. The EPA Region 9 approach,
        which is supported by most public health agencies and scientists, as
        well as the American Thoracic Society, is based on the following: (1)
        The epidemiologic and health studies underlying EPA and Cal/EPA
        cancer risk assessment methods were based on exposures to both
        cleavage fragments and fibers, and were unable to distinguish
                                           41
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           between the two, (2) The most recent panel of experts to review
           asbestos risk assessment methods, the 2003 Peer Consultation Panel
           convened by EPA, concluded that “it is prudent at this time to
           conclude equivalent potency [of cleavage fragments and fibers] for
           cancer,” (3) No well-designed animal or epidemiological studies have
           adequately tested the hypothesis that cleavage fragments with the same
           dimensions as a fiber are benign or that the human body makes any
           distinction, (4) Studies that purport to show that cleavage fragments
           are benign are questioned by many asbestos health experts, (5)
           There are no routine asbestos air analytical methods, including those
           used by EPA, NIOSH, the Mine Safety and Health Administration
           (MSHA), the American Society for Testing and Materials
           (ASTM), and ISO which differentiate between cleavage fragments
           and crystalline fibers on an individual fiber basis. 148

  The EPA concluded that “[i]n terms of epidemiological data and health outcomes,

  the cleavage fragment argument is without merit. For purposes of public health

  assessment and protection, EPA makes no distinction between fibers and cleavage

  fragments of comparable chemical composition, size and shape.” 149 All regulated

  fibers are significant from a public health perspective.

           Public health and governmental agencies maintain the same or similar

  definitions for what constitutes a countable asbestos fiber when evaluating asbestos

  exposure because the distinction Drs. Dyar and Wylie draw has no demonstrated

  impact on the ability to cause disease. The argument J&J is making before this Court

  is in a word, reckless. As the EPA has stated, it also falls outside the bound of

  accepted science in the regulatory community. This Court should likewise reject it.


  148
        EPA Response to R.J. Lee at 2-3, attached hereto as Exhibit 92.
  149
        Id. at 11-12 (emphasis added).
                                            42
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                3.    Regulators and J&J (outside of litigation) employ similar
                      methodology to identify asbestos

         Putting aside J&J’s facile distinction between “asbestos” and “cleavage

  fragments” addressed above, there is near unanimity among regulators—and J&J—

  concerning the appropriate identification of asbestos fibers. After confirming

  through analysis of crystal structure and elemental chemistry that the particle is from

  the asbestos mineral family, the counting criteria determine what “counts” as an

  asbestos fiber. For reference, these include:

         OSHA: A countable fiber under light microscopy is equal to or longer than

  5µ (microns) and has an aspect ratio (length-to-width ratio) of equal to or greater

  than 3:1.

         MSHA: Same as OSHA. 150

         EPA/AHERA: A structure greater than or equal to .5µ (microns) in length

  with an aspect ratio (length -to-width ratio) of 5:1 or greater and having substantially

  parallel sides.

         Johnson & Johnson: “Asbestos is defined to be…chrysotile, and the fibrous

  forms of the amphibole group as represented by amosite, anthophyllite, crocidolite,




  150
     In 2005, RJ Lee Group (a third-party lab used by both J&J and Imerys) urged
  MSHA to change its counting rules to exclude cleavage fragments. MSHA
  declined. See Exhibit 93 at 11286, attached hereto.
                                            43
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  tremolite asbestos and actinolite.” J&J defines an “asbestiform mineral” as “An

  elongated particle with parallel sides and an aspect ratio ≥3:1.” 151

           As described above, the agencies that regulate asbestos for health and safety

  purposes, as well as J&J, maintain very simple definitions that recognize the diverse

  morphology of asbestos fibers. As Dr. Longo explained in this case, a “[c]leavage

  fragment, typically for tremolite, is particulates that have an aspect ratio of

  somewhere between 1-to-1 to 1-to-2, but they will have the same chemistry and the

  same crystalline pattern.” 152 “[I]f it does have parallel sides, if it does meet all the

  definitions of the counting rules, you can call it what you like, but it’s regulated

  asbestos per the standard counting rules for every one of these TEM methods that I

  have referenced in my report.” 153

                 4.    J&J seeks to create a false distinction when discussing
                       asbestiform and non-asbestiform materials

           “Asbestiform” is a commercial geological distinction designed to designate

  certain asbestos deposits as commercially desirable or not. It has zero relevance to

  the health hazard of the material. Nonetheless, Dr. Longo has multiple reasons to


  151
     See June 28, 1977 J&J Memo “Audit Testing of Windsor 66 Talc for Asbestos,”
  attached hereto as Exhibit 94; “Analysis of Powdered Talc For Asbestiform
  Minerals by Transmission Electron Microscopy,” at 5, attached hereto as Exhibit
  95; and March 21, 1995 “Analysis of Powdered Talc for Asbestiform Minerals by
  Transmission Electron Microscopy,” at 8, attached hereto as Exhibit 96.
  152
        Longo MDL Dep. at 238:13-19.
  153
        Longo MDL Dep. at 239:2-22 (emphasis added).
                                             44
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  conclude that what he found in the samples of J&J Baby Powder and Shower to

  Shower is, in fact, amphibole asbestos and not non-asbestiform chunks. Dr. Longo

  (1) found bundles of fibers, (2) found fibers longer than 20 microns, and (3) the

  average aspect ratio of the bundles and fibers he found ranged from 7:1 to over 20:1.

  These findings support the conclusion, based on generally recognized standards and

  peer-reviewed literature, that the J&J samples contain asbestos fibers.

        In the samples of J&J Baby Powder and Shower to Shower that Dr. Longo

  tested, he found multiple examples of bundles of fibers, which Professor Blount in

  her 1991 peer-reviewed paper instructed are always indicative of asbestiform

  amphiboles. 154 Indeed, ISO 22262-1, the generally recognized standard for finding

  asbestos in bulk materials, states:

               c) . . . observation of any of the following characteristics for the
        fiber type under consideration provides additional confirmation that the
        fibres are asbestiform:

               1) parallel fibres occurring in bundles,

               2) fibre bundles displaying splayed ends,

               3) fibres in the form of thin needles,

               4) matted masses of individual fibres,



  154
     See Blount AM. 1991. Amphibole Content of Cosmetic and Pharmaceutical
  Talcs. Environmental Health Perspectives. 94:225-230, at 230 (“with true
  asbestiform amphiboles one generally sees some particles showing bundles of
  fibrils which removes any doubt about the nature of the amphibole.”) (emphasis
  added).
                                            45
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                 5) fibres showing curvature 155

           As the Court can see from a cursory inspection of Dr. Longo’s scanning

  electron microscope photomicrographs of a 1978 Museum Sample of Johnson’s

  Baby Powder, there are clearly bundles of fibers meeting these characteristics: 156




  155
    See Exhibit 97, ISO 22262-1, Sampling and Qualitative Determination of
  Asbestos in Commercial Bulk Materials (2012), at 22-23.
  156
        See Longo and Rigler MDL 1st Supplemental Report at p. 723.
                                             46
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           (Top: Far terminal end of fiber bundle shown; Bottom: continuation of fiber

  bundle showing numerous thin fibrils showing flexibility). 157

           The average aspect ratios (ratio of length to width) of the fibers and bundles

  Dr. Longo found in his testing of J&J Baby Powder and Shower to Shower were

  consistent with the presence of asbestiform materials, not non-asbestiform materials.

  Dr. Longo found that the average aspect ratio of the asbestos fibers and bundles in

  the samples of J&J Baby Powder and Shower to Shower ranged from a low of 6.8

  to a high of over 20, with many individual fibers or bundles having aspect ratios well

  into the 30s. 158 Notably, ISO 22262-1 states that the presence of any single bundle



  157
     See SEM Photomicrographs of 1978 JJ Museum Sample along with
  presentation by RJ Lee regarding asbestiform v. non-asbestiform for comparison,
  attached hereto as Exhibit 98.
  158
        See Longo and Rigler MDL Report at 34-48.
                                             47
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  or fiber longer than 20 microns in a sample, or a sample with fibers/bundles with an

  average aspect ratio higher than 5:1 supports the conclusion that the sample reviewed

  is asbestiform:

           In general, for this part of ISO 22262, the presence of either the
           asbestiform or the non-asbestiform analogues of tremolite, actinolite,
           anthophyllite or richterite/winchite can usually be specified. If the
           majority of the amphibole fibres longer than 5 µm have aspect rations
           equal to or lower than 5:1, and if the fibres do not exhibit any of the
           characteristics in c), it can be concluded that the amphibole is probably
           non-asbestiform, with the degree of certainty increasing with
           decreasing maximum aspect ratio. If any amphibole fibres longer than
           5 µm with aspect rations in the range of 20:1 or higher are observed,
           then it can be concluded that amphibole asbestos is probably present,
           with the degree of certainty increasing with increasing aspect ratio. 159

           Even J&J defines asbestos “to be . . . chrysotile, and the fibrous forms of the

  amphibole group as represented by amosite, anthophyllite, crocidolite, tremolite

  asbestos and actinolite” and defines an “asbestiform mineral” as an “elongated

  particle with parallel sides and an aspect ratio ≥3:1.” 160 The aspect ratios found by

  Dr. Longo are consistent with both those found by Professor Blount, where the

  aspect ratio for “Tremolite asbestos” was 7:1, and with the 1977 Campbell Study:




  159
        ISO 22262-1 at 23 (emphasis added).
  160
    See June 28, 1977 J&J Memorandum; see also March 21, 1995 J&J Test
  Method 7024 (emphasis added).
                                              48
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           B.    Drs. Longo’s and Rigler’s        microscopy     follows   accepted,
                 reproducible methodologies

                 1.     Drs. Longo and Rigler employed scientifically accepted
                        testing methods

           MAS and Drs. Longo and Rigler have performed testing on talcum powder

  product samples that J&J and Imerys produced pursuant to this Court’s

  comprehensive, stipulated order. 161 The talcum powder product samples (“historical

  samples”) were from the 1960s, 1970s, 1980s, 1990s, and 2000s. 162 The historical




  161
        Longo MDL Dep. at 351:22-352:13.
  162
        Id. at 353:23-354:2.
                                           49
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  samples’ source mines were Italy for the 1960s until the 1970s, Vermont for 1967

  until 2003, and China for 2003 until the present time. 163

            To analyze the historical talcum powder samples, MAS and Drs. Longo and

  Rigler utilize basic instruments—“tools”—as well as sample preparations—

  “techniques.” 164 The tools utilized are the analytical transmission electron

  microscope (“TEM”), polarized light microscope (“PLM”), and X-Ray Diffraction

  (“XRD”). The techniques utilized are specified by International Standards

  Organization (ISO) methods 22262-1, 22262-2, 22262-3, and the peer-reviewed and

  published “Blount PLM method.” 165 For illustrative purposes, tool to technique pairs

  are:

                       Tool                       Technique
                       TEM                       ISO 22262-2 method 166
                                             (heavy-density liquid separation)

                       PLM                       Blount PLM method 167
                                             (heavy-density liquid separation)

                       PLM                       ISO 22262-2 method 168
                                             (heavy-density liquid separation)



  163
        Id. at 354:3-8, 354:17-19.
  164
        Longo at Leavitt Tr. at 65:9-66:2; Longo at Schmitz Tr. at 93:18-95:13.
  165
        Id.; see also Longo and Rigler MDL Report at 4.
  166
        Longo and Rigler MDL Report at 6, 8.
  167
        Id. at 7-8.
  168
        Id. at 6, 8.
                                             50
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                       PLM                        ISO 22262-1 method 169
                                                  (no heavy-density liquid
                                                        separation)

                       XRD                        ISO 22262-3 method 170



            Concerning the techniques, one of the great challenges of analyzing a finely

  ground powder like talcum powder is removing enough of the platy talc so one can

  see the asbestos. Asbestos fibers are also difficult to detect in cosmetic talc because

  there are proportionally fewer of them in comparison to the amount of platy talc

  particles. 171 Because of this, the preparation methods for testing asbestos in talcum

  powder are critical to achieve a level of sensitivity that can detect asbestos fibers. To

  identify the amphibole asbestos fibers, MAS and Drs. Longo and Rigler based their

  testing on a scientifically sound and accepted method utilized by Alice Blount,

  Ph.D., in her 1991 peer-reviewed analysis—“Amphibole Content of Cosmetic and

  Pharmaceutical Talcs”—that found tremolite asbestos in “off-the-shelf” J&J Baby

  Powder. 172




  169
        Id. at 5.
  170
        Id. at 4-5.
  171
        Longo MDL Dep. at 203:12-16.
  172
    Longo MDL Dep. at 23:23-24:10, 25:21-26:2, 113:25-114:8, 197:22-23,
  214:22-24; see also Blount 1991 article.
                                             51
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        Blount’s method utilizes the same tools (TEM, PLM, and XRD) as those used

  by J&J’s experts but employs a preparation technique which results in a greater

  sensitivity specifically for the detection of amphiboles. In order to adequately

  examine talcum powder for the presence of amphibole asbestos, the talcum powder

  has to be “preconcentrated” through a heavy liquid separation method. Without

  using a preconcentration method, detecting asbestos in talcum powder is very

  unlikely (which makes the positive tests in J&J’s files all the more damning, and any

  “negative” or “non-detect” finding expected). By purposefully avoiding the use of

  this preparation technique, J&J is able to continue to hide the true asbestos content

  of their talcum powder and report “non-detect” results from the use of inadequate

  methods.

        Though this preparation technique (the “concentration method”) was

  published by Dr. Blount in the 1990s, it has been known to J&J since the 1970s. In

  1973, the Colorado School of Mines, consultants for J&J, reported that as the

  impurity level of talc becomes very low, to find the “proverbial ‘needle in a

  haystack’” concentration is “considered essential to the success of any suggested

  procedure.” 173 That same year, J&J wrote that their retained expert, Dr. Pooley, had

  developed techniques for pre-concentration of asbestos in talc, which he then used


  173
     See December 27, 1973 Colorado School of Mines “A Procedure to Examine
  Talc for the Presence of Chrysotile and Tremolite-Actinolite Fibers,” attached
  hereto as Exhibit 99.
                                           52
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  throughout the 1970s. Utilizing this preparation technique, Dr. Pooley detected

  levels of asbestos in J&J talc that he was unable to detect with other methods alone.

  When faced with Dr. Pooley’s results, J&J rejected the method as “too sensitive.” 174

  In fact, it was because of its ability to find asbestos that J&J, when proposing testing

  methods to the CTFA, stated “[w]e deliberately have not included a concentration

  technique as we felt it would not be in worldwide company interests to do this.” 175

  As J&J explained in another internal memo, “[w]e really want to exclude

  concentration techniques in any proposed analytical procedure and are really looking

  at this method very quietly so that we will be informed and up-to-date with this area

  of technology. We want to avoid promotion of this approach.” 176 Rather than heed

  the advice of their own consultants, J&J in conjunction with PCPC (formerly the

  Cosmetic, Toiletries and Fragrance Association (CTFA)) created their own talc-

  industry method to test for asbestos in talcum powder—CTFA’s J4-1 method. 177




  174
    See May 22, 1973 Internal J&J Memo “Proposed Specs for Analyzing Talc for
  Asbestos,” attached hereto as Exhibit 100.
  175
     See February 18, 1975 J&J Memo “We have deliberately not included a
  concentration technique…” attached hereto as Exhibit 101.
  176
     See February 28, 1975 Internal J&J Memo “Review of CTFA Methodology for
  the Detection of Asbestos in Talc, as well as, Comments on TPF Methodology,”
  attached hereto as Exhibit 102.
  177
        See CTFA J4-1 method, attached hereto as Exhibit 103.
                                            53
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        By 1974, J&J knew that they had to propose a testing method to the FDA

  “before the art advances to more sophisticated techniques with higher levels of

  sensitization.” 178 By 1976, J&J found it “disturbing” that the FDA was “getting into

  separation   and   isolation   methodology     which    will   mean    concentration

  procedures.” 179 In order to avoid regulation by the FDA of cosmetic talc, and any

  requirement to use the concentration method, the Defendants created the J4-1

  method in 1976. The J4-1 method was less stringent that FDA’s prior proposed

  method, which had a 0.1% detection limit. Instead the J4-1 method allowed a

  detection limit of merely 0.5%. This meant that cosmetic talc products may contain

  asbestos below the 0.5% detectable limit. By adopting the J4-1 method, J&J was

  able to: 1) continue to self-regulate cosmetic talc products; 2) avoid the FDA’s

  proposed lower detection limit for asbestos in cosmetic talc; 3) dissuade the FDA

  from further investigating concentration techniques, which would reveal asbestos in

  cosmetic talc; and most importantly, 4) claim that its talc was “free from” asbestos,

  knowing full well the detection level of the J4-1 could not find low level asbestos in

  the talcum powder, without the use of the concentration method.




  178
    See December 17, 1974 Memo to CTFA Estrin from J&J, attached hereto as
  Exhibit 104.
  179
    See November 24, 1976 Internal J&J Memo Ashton to Lee, attached hereto as
  Exhibit 105.
                                           54
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                 2.    Drs. Longo and Rigler applied the scientifically sound (ISO)
                       pre-concentration method, and repeatedly identified
                       asbestos in the J&J Talcum Powder Products


           In 2014, the International Standards Organization (ISO) adopted the pre-

  concentration method in their ISO 22262-2 standard. MAS and Drs. Longo and

  Rigler applied this pre-concentration preparation method, included in the ISO

  method 22262-2, for finding and examining the levels of asbestos in J&J Talcum

  Powder Products (known as heavy-density liquid separation method). 180

           To perform these heavy-density liquid separation techniques, the talcum

  powder sample is placed in a tube with liquid, and then spun in a centrifuge, causing

  most of the asbestos fibers to fall to the bottom and most of the talc particles to float

  to the top. 181 The centrifuge tube is then flash frozen using liquid nitrogen, and a

  “guillotine-type apparatus” is used to cut the tip of the centrifuge tube off. 182 After

  the isolating samples to examine for potential amphibole asbestos fibers, MAS and

  Drs. Longo and Rigler view them by transmission electron microscopy, and count

  them according to federal and international health and safety standards. 183 An



  180
     Id.; see also id. at 161:17-24 (explaining a disadvantage of the method is that it
  cannot separate chrysotile asbestos from platy talc, because the particles have
  similar densities).
  181
        Longo MDL Dep. at 203:12-16.
  182
        Longo Schmitz Tr. at 101:19-102:22.
  183
        Longo MDL Dep. at 196:17-24.
                                              55
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  asbestos fiber is counted if it has an asbestos mineral type, has a crystalline structure,

  and has at least the minimum fiber shape and size, known as “aspect ratio,” i.e.,

  greater than or equal to .5µ in length with an aspect ratio of 5:1 or greater, and

  substantially parallel sides. 184

           Utilizing this scientifically sound and generally accepted methodology 185,

  MAS and Drs. Longo and Rigler repeatedly identified asbestos in the Johnson’s

  Baby Powder and Shower to Shower. 186 Specifically, MAS and Drs. Longo and

  Rigler analyzed:

           •      34 historical samples of J&J Baby Powder, and found approximately

  71% (24/34) with detectable levels of regulated asbestos; 187

           •      23 historical samples of J&J Shower to Shower, and found

  approximately 78% (18/23) with detectable levels of regulated asbestos; 188

           •      15 historical Imerys railroad car samples and found approximately 53%

  (8/15) with detectable levels of regulated asbestos. 189




  184
        Longo MDL Dep. at 70:3-6, 71:4-11, 91:1-5, 91:8-13, 92:12-93:14.
  185
        Longo MDL Dep. at 352:14-353:3.
  186
        Id. at 354:9-355:10.
  187
        Id. at 354:20-22.
  188
        Id. at 354:23-25.
  189
        Id. at 355:1-3.
                                             56
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           Of the 72 total historical samples, approximately 66% (50/72) were found to

  contain detectable levels of regulated asbestos. 190 Of the 65 historical samples,

  eliminating the seven (7) Asian Johnson Baby Powder historical samples, 68%

  (44/65) were found to contain detectable levels of regulated asbestos. 191 As to

  fibrous talc, analysis using the ISO 22262-1 PLM method found 98% (55 of 56)

  contained fibrous talc. 192

           The heavy-liquid density separation method utilized by MAS and Drs. Longo

  and Rigler is reliable; so much so that R.J. Lee Group, which is regularly employed

  as J&J’s expert in talcum powder cases, has utilized the very same method to identify

  asbestos in talc. 193 By the 1970s, J&J itself also knew about the method. 194 And as

  stated previously, it is now codified as an international standard testing method, ISO

  22262-2. 195 The methods and results are also consistent with and supported by Dr.

  Blount’s published and peer-reviewed method and findings. Not only does Dr.



  190
        Id. at 354:11-16.
  191
        Id. at 355:3-7.
  192
     Id. at 355:11-356:6; see also id. (Dr. Longo explaining the Blount PLM and
  TEM heavy density methods were also utilized for fibrous talc testing, but “the
  best predictor of fibrous talc would be the ISO PLM that does not use heavy
  density liquid….”).
  193
        Longo MDL Dep. at 23:23-24:10.
  194
        See Exhibit 106, JNJ-1550 at 4; JNJ-058; JNJ-1228; JNJ-121.
  195
     Exhibit ISO 22262-2 at 29; see also
  https://www.sis.se/api/document/preview/917748/.
                                            57
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  Blount’s article conclude that there is asbestos in J&J Baby Powder and the source

  mines for it, but she communicated her findings that J&J’s Vermont talc contains

  trace amounts of asbestos in communications with Luzenac (now Imerys). 196

               3.    Drs. Longo and Rigler’s “tools” and “techniques” are both
                     sound and widely accepted


        As discussed previously, MAS and Drs. Longo and Rigler utilize several

  widely accepted tools and techniques. Through the employment of the different tools

  and techniques, and grounded upon their scientifically sound methodologies, MAS

  and Drs. Longo and Rigler have identified asbestos in J&J’s Talcum Powder

  Products. Their conclusions that the asbestiform fibers identified were in fact

  asbestos, is founded on a generally accepted scientific protocol. Drs. Longo’s and

  Rigler’s testimony is reliably based on objective, verifiable testing results and the

  standard methods employed. MAS and Drs. Longo and Rigler’s testing methodology

  is sound and admissible.

               4.    Analytical Transmission Electron Microscopy and ISO
                     22262-2 method



  196
     See Blount,1991; Another geology expert on which Defendants regularly rely,
  Mickey Gunter, admits that not only does Blount’s article demonstrate “asbestos in
  Johnson & Johnson talc products,” but also that he has no criticism of Blount’s
  density heavy liquid method that Longo followed. His criticisms are based not on
  Longo’s method, but on his interpretation of the particles he identified, a dispute
  squarely within the purview of the trier of fact. See September 8, 2017 Deposition
  of Mickey E. Gunter, Ph.D. at 161:2-164:6, excerpts attached hereto as Exhibit 107.
                                           58
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           ISO 22262 addresses the determination of asbestos in commercial bulk

  materials. ISO 22262-1 specifically notes “[s]imple analytical procedures such as

  polarized light microscopy are not capable of detecting or reliably identifying

  asbestos in some types of commercial products containing asbestos, either because

  the fibres are below the resolution of optical microscopy or because the matrix of

  material adheres too strongly to the fibres.” 197 As a consequence, where optical

  microscopy cannot provide reliable analyses of untreated samples (i.e. without

  density separation), ISO 22262-2 provides for extending the limits of detection

  using, inter alia, heavy-density liquid separation prior to microscopic examination

  or the use of TEM. 198 So, the ISO 22262-2 method is used for the quantitative

  determination of asbestos by gravimetric and microscopical methods. 199

           Pursuant to the ISO 22262-2 method, an asbestos fiber is counted if it has an

  asbestos mineral type, has a crystalline structure, and has at least the minimum fiber

  shape and size. 200 As a result, when MAS and Drs. Longo and Rigler employ TEM

  analysis using the ISO 22262-2 method on the historical talcum powder samples,




  197
        ISO 22262-1 at vii.
  198
        Id.; see also ISO 22262-2 at Introduction and Scope.
  199
        ISO 22262-2.
  200
        Longo MDL Dep. at 70:3-6, 71:4-11, 91:1-5, 91:8-13, 92:12-93:14.
                                             59
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  they utilize a three-step analysis that is grounded in the scientific method. Their

  methods are by no means novel or outside scientific norms:

                 look[ing] at three things: The morphology. Is it fibrous?
                 Does it meet the definition? Very important, the
                 microchemistry. Does it have a tremolite chemistry, the
                 right ratios of magnesium, the calcium, and the one tall
                 silicon peak? And does it have an amphibole-type d-
                 spacing - - that’s the - - that’s the distance between the row
                 of atoms - - that are consistent with tremolite?

                 So, it’s not just one thing. Everything goes through a series
                 of diagnostic tests. You know, A, yes. It has the right
                 morphology. It’s fibrous. Check.

                 Second, the chemistry. Does the chemistry match? And
                 tremolite is very distinct. Check.

                 [Third, d]oes it have an amphibole diffraction spacing
                 between the atoms that are in the range of what you
                 would expect for tremolite which are off standard x-ray
                 cards for x-ray diffraction? Check.

                 And there it is.

                 You can’t - - you just can’t rely on one thing. You put it
                 all together and it says, yes, by all the standards, this is
                 tremolite asbestos. 201

           A strength of utilizing TEM and the ISO 22262-2 method for the identification

  of asbestos is “that it’s the most sensitive method out there in that it can detect single

  asbestos fibers.” 202 A further strength is the inseparable three-steps that comprise the

  method; that is, the inseparable three-steps permit an analyst to:


  201
        Longo Schmitz Tr. at 175:9-176:10.
  202
        Longo Schmitz Tr. at 88:15-21.
                                              60
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          …fully characterize [the asbestos fibers] in that if you see a single small
          fiber, you can get the chemistry of it, utilizing EDXA, or energy
          dispersive x-ray. So, you can do microchemistry.

          You can get crystalline structure information by doing the different
          diffraction patterns….And it allows you to take photographs of the
          micro - - these - - these microscopic fibers.

          And so, if you have something there, you can fully characterize it. So,
          it still is the most sensitive method for this type of analysis. 203

  Of paramount import here, the mandated three-steps of the methodology used by

  MAS and Drs. Longo and Rigler are inseparable. Dr. Longo has explained, ad

  nauseam:

          You [J&J attorney] keep saying alone, and you keep saying in a
          vacuum. That’s not how it’s done. The methodology doesn’t say take
          the SAED alone. We have the chemistry that goes with it and the
          morphology. There’s a reason it takes you through those steps.

          ….

          …my answer is you do not look at these patterns alone. You’re using
          peer-reviewed published protocol that walks you through morphology,
          EDXA, and a diffraction pattern. That’s how the protocol goes.

          It’s not my protocol. These are the protocols for the ISO methods, for
          the AHERA methods, the ASTM - - TEM methods. There is a reason
          you do all of them. 204

          Nevertheless, now unable to mount any attack on the authenticity of the

  talcum powder samples MAS and Drs. Longo and Rigler tested, J&J endeavors to


  203
    Longo Schmitz Tr. at 88:15-89:8. As noted above in § II.C.1, Schmitz has relied
  upon, and presented to the jury, MAS’s testing and results conducted pursuant to this
  Court’s comprehensive, stipulated order in these proceedings.
  204
        Longo MDL Dep. at 180:13-181:10.
                                              61
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  deconstruct MAS’s and Drs. Longo’s and Rigler’s scientifically sound methodology.

  Daubert, however, requires the proponent of the scientific evidence to show that the

  expert’s conclusion has been arrived at “in a scientifically sound and

  methodologically reliable fashion,” not that the expert’s opinion or methodology is

  beyond reproach. 205

        On the whole, J&J’s arguments boil down to credibility and conflicting expert

  opinion attacks that are more appropriately asserted in argument at trial and cross-

  examination. As Daubert specifically recognized, “cross-examination, presentation

  of contrary evidence, and careful instruction on the burden of proof” are the ordinary

  means to attack an opposing expert. 206 The United States Supreme Court has

  recognized that there is a range in which experts might reasonably differ on issues

  of science, and that such conflicting evidence should be admitted to aid the jury in

  deciding those issues. 207




  205
     Ruiz-Troche v. Pepsi Cola of Puerto Rico Bottling Co., 161 F.3d 77, 85 (1st Cir.
  1998); In re TMI Litigation, 193 F.3d at 665 (explaining that plaintiffs “do not
  have to demonstrate to the judge by a preponderance of the evidence that the
  assessments of their experts are correct, they only have to demonstrate by a
  preponderance of evidence that their opinions are reliable” (citation omitted)).
  206
    Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579, 596, 125 L. Ed. 2d 469,
  113 S. Ct. 2786 (1999).
  207
    See Kumho Tire Co. v. Carmichael, 526 U.S. 137, 1953 (1999); Ambrosini v.
  Labarraque, 101 F.3d 129, 138-139 (D.C. Cir. 1996); Globetti v. Sandoz Pharm.
  Corp., 111 F. Supp. 2d 1174, 1176 (N.D. Ala. 2000).
                                           62
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                          a. Morphology: Drs. Longo and Rigler’s Visual TEM
                             analysis is sound and widely accepted in the scientific
                             community

              Contrary to J&J’s arguments, Drs. Longo and Rigler’s visual TEM analysis is

  the standard in the scientific community. The crux of J&J’s argument is that Drs.

  Longo and Rigler misidentified asbestos fibers or bundles when conducting their

  analysis. Essentially, this is an eye-of-the-beholder argument—Drs. Longo and

  Rigler employing industry-standard analysis see one thing, J&J seeking to avoid

  liability sees another. But this type of argument neither renders the underlying

  analysis unsound, nor does it undermine the fact that the approach and methodology

  are widely accepted. On these facts, a jury should be permitted to decide which

  party’s vision is more acute.

              Pursuant to standard counting rules within the protocols relied upon by MAS

  and Drs. Longo and Rigler, amphibole fibers or bundles are “defined to have an

  aspect ratio equal or greater than 5-to-1 and a minimum length of 5.0” with

  substantially parallel sides. 208 Once a fiber is identified in accordance with the

  expressed criteria, the method mandates the additional steps to permit identification

  of the fiber as regulated asbestos or otherwise. 209




  208
        Longo MDL Dep. at 229:230:1; see also Longo and Rigler MDL Report at 12.
  209
        Id.
                                               63
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           MAS and Drs. Longo and Rigler rely on the generally accepted scientific

  literature and regulations in testifying that bundles of fibers found via TEM are

  asbestos fibers. A fiber bundle is a “structure composed of parallel smaller diameter

  fibers attached to longer lengths.” 210 It is generally accepted that bundles of parallel

  amphibole fibers show that the fibers are asbestiform. 211 The mineral particles

  counted by Dr. Longo as asbestos meet the dimensional criteria of asbestos fibers.

  Dr. Longo also explained that “parallel fibers occurring in bundles” and “fiber

  bundles displaying splayed ends” and high aspect ratios are indicative of fibers being

  asbestiform and those opinions are well-accepted. 212 J&J has offered no evidence

  that these amphibole particles with these dimensions are likely non-asbestiform. In

  fact, J&J’s own expert, Dr. Mossman, explained in her deposition that mineral

  particles with high-aspect ratios are not cleavage fragments by definition because

  you do not find non-asbestiform particles with those dimensions. 213 Hence, it is

  perfectly reasonable for Dr. Longo to rely on counting rules to classify the fibers he

  found as asbestos.




  210
        Longo MDL Dep. at 229:3-230:1.
  211
    Longo Leavitt Dep. at 159:2-161:11, 347:8-349:5, 392:2-394:19 (citing
  publications and regulations in support of this principle), 397:3-399:23.
  212
        Longo Leavitt Dep. at 160:6-21.
  213
    See November 15, 2018 Deposition of Brooke T. Mossman, M.S., Ph.D.,
  Leavitt Trial, (“Mossman Dep.), excerpts attached hereto as Exhibit 108.
                                             64
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              As to bundles to fibers ratio, Dr. Longo explained “[a]ll these materials are

  milled, and you’re dealing with an asbestos type tremolite-anthophyllite that’s

  brittle,” so there is no expectation of an equal, even distribution between bundles

  and fibers. 214 Correspondingly, “[b]ecause you’re dealing with accessory minerals

  [i]t just depends on where it’s being dug out of the mine. 215 The focus, as it should

  be, “is that every asbestos fiber or bundle we identify meets the counting criteria for

  a regulated asbestos fiber or bundle per the TEM methods, both ISO, ASTM. That’s

  the most important thing.” 216 What MAS and Drs. Longo and Rigler “strive for, is

  following the protocol, following the standard counting rules, and identification.” 217

              Finally, J&J attempts to recast an internal quality control study at MAS as

  fatal to the content that Drs. Longo and Rigler’s team can consistently identify

  asbestos. The MAS TEM Coefficient of Variation for Tremolite Anthophyllite in

  Talc: Quality Control Study, was designed so that all analysts looked at the same

  material or grid squares to assess the consistency with which the analysts “count[ed]

  the same number of asbestos structures, so that you can get a coefficient of variation

  for the error in the counting the number of structures from one opening to the next.




  214
        Longo MDL Dep. at 60:2-22.
  215
        Longo MDL Dep. at 59:19-60:1.
  216
        Id.
  217
        Id.
                                                65
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  That’s what it was designed for.” 218 All of MAS’s analysts “agreed that this was

  tremolite, it came from the standard, and that their error of coefficient or counting

  rate error for the number of structures was six percent which is pretty good.” 219

  Again, the focus, as it should be, “is that every asbestos fiber or bundle we identify

  meets the counting criteria for a regulated asbestos fiber or bundle per the TEM

  methods, both ISO, ASTM. That’s the most important thing.” 220

                           b.   Diffraction Pattern (SAED): Scientific standards do
                                not require two images taken from different zone-axis
                                orientations

              Selected Area Electron Diffraction (“SAED”) is a pattern analysis in which

  analysts are identifying a particular, in this case an amphibole type, diffraction

  pattern. 221 The d-spacing is the layers of atoms on top of each other; d-space is

  between the planes. 222 The “d-spacings are all tied back to a standard that every lab

  should have for these particular type of regulated asbestos structures.” 223 MAS has

  analyzed 200 particles in a National Institute of Standards and Technology (“NIST”)

  standard to generate standards of SAED. 224 MAS and Drs. Longo and Rigler use the


  218
        See Tersigni Cert. Exhibit E29 at 169:9-171:15.
  219
        Id.
  220
        Id.
  221
        Longo MDL Dep. at 91:1-5.
  222
        Id. at 140:18-141:4.
  223
        Id. at 155:5-15.
  224
        Longo MDL Dep. at 118:5-23.
                                              66
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  standard formula of “the camera constant divided by the measured distance” to

  determine the d-spacing. 225

           To calibrate the SAED apparatus, MAS analysts “get the working distance,

  and typically they’re using the gold standard 226 for the rings and the working

  distance so the [analyst] can do that calibration.” 227 In performing SAED, MAS and

  Drs. Longo and Rigler use one zone axis for tremolite because “fibrous talc does not

  have any calcium in it [, a]nd what you’re looking for in an EDS pattern is make

  sure there’s no aluminum.” 228 For anthophyllite and anthophyllite solid series

  solution, MAS and Drs. Longo and Rigler use two zone axes. 229 As to talcum

  powder, MAS and Drs. Longo and Rigler use the “[c]hemistry and one SAED

  pattern that has the hexagonal dot pattern.” 230 As to the d-spacing verification, it

  merely solidifies the determination of whether the SAED is identifying regulated




  225
        Longo MDL Dep. at 157:25-158:12.
  226
     The “gold standard” is when analysts “take something that’s fibrous and you
  put a gold film on the top so that you get the outer rings of the gold, which is a
  standard measurement, and then the working distance so you can calibrate.” Id. at
  141:14-142:2. The standard is literally made of gold, albeit “a very small piece of
  gold wire - - - - that you sputter, so you’re not using a lot.” Id.
  227
        Id. at 141:10-13.
  228
        Id. at 133:10-15.
  229
        Id. at 133:16-134:5.
  230
        Id. at 134:6-9.
                                           67
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  asbestos. 231 “It’s all important[, but i]f you do this long enough, you can look at it

  and say that’s an amphibole diffraction pattern.” 232 Had MAS and Drs. Longo and

  Rigler received a d-spacing that did not verify a SAED determination of regulated

  asbestos “then we’d have something else to talk about today.” 233 “Again, nothing

  here is done in a vacuum of just one and nothing else.” 234 As Dr. Longo testified in

  his deposition:

              Q. Now, if somebody were to say, Dr. Longo, wait a second, you didn't
              measure the space and do what's called a zone-axis measurement of
              this, so how can you possibly know that's an amphibole pattern, because
              you didn't measure it? Is that a fair criticism, in your view?

              A. Absolutely not.

              Q. And why -- why do you say that?

              A. You don't need a zone-axis diffraction pattern. If all you had was a
              diffraction pattern and no chemistry to go along with it, then, yes, you
              need to do at least one zone-axis diffraction, and you have -- and that's

  231
        Id. at 183:8-184:2.
  232
        Id.
  233
        Id.
  234
        Id. at 134:14-21; see also Id. at 136:11-24:
  Q. So same question. In a vacuum, all you have is the SAED pattern for one axis
  for something you otherwise would call tremolite. Does that uniquely and only
  identify tremolite?
  <objection>
  A. If you were going to do that, and you were - - for whatever reason that here is
  an SAED pattern, there is nothing else, if it was a zone axis, then you’d have to get
  two zone axes, and now you’re dealing with like no chemistry, no idea where the
  tremolite fiber came - - if it is tremolite. So, I would not do it. I can’t talk about
  what other people would do.).
                                                 68
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              how microscopists would have done it in the '70s and early '80s before
              EDXA or the microchemistry got so good, for lack of a better word. So,
              you don't need that. It's not required in any of the standard protocols to
              do that.

              Q. Did George Yamate, years ago, 30 years ago, suggest zone-axis
              measurements?

              A. George Yamate said for EPA Level 3, and if it's going to be a -- if
              it's going to be a legal case, you need to do zone -- you need to do a
              couple zone-axis diffraction patterns to verify. 235

              In the early 1980s, Dr. George Yamate authored a TEM protocol “typically

  called the Level 1, Level 2, Level 3 protocol.” 236 “The methodology is based on a

  TEM analytical protocol that is divided into three levels of effort: Level I, for

  screening many samples; Level II, for regulatory action; and Level III, for

  confirmatory analysis of controversial samples.” 237 Level 3 protocol was, and is,

  designed to be performed so that if the final air clearance 238 for removal of asbestos

  products (asbestos abatement) is legally challenged, the final air clearance can be

  defended. 239

              Unsurprisingly, J&J’s expert upon whose opinions its entire argument rests,

  Dr. Dyar, was unable to articulate any reliance material, other than Dr. Yamate, with



  235
        Longo Schmitz Tr. at 176:11-177:8.
  236
        Longo Schmitz Tr. At 86:3-9.
  237
        See Yamate Paper at 3, attached hereto as Exhibit 109.
  238
        Id.
  239
        Id.
                                                 69
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  respect to asbestos, that states a SAED two zone axes determination is required in

  order to make a determination that a material is asbestos. 240 Any criticism J&J may

  have based on Dr. Yamate’s opinions is a matter for cross-examination and weight,

  not exclusion.

           In addition, the entirety of J&J’s argument that “there are thousands of

  minerals with one d-spacing at one orientation within 5% of 5.2Å,” and “MAS

  analysts failed to consider whether the measurements more closely match those of

  other minerals” is solely based on the opinions of Dr. Dyar. 241 Yet, when asked how

  many of those thousands of crystal structures have been found in the Vermont and/or

  Italian talc mines used by J&J, Dr. Dyar “ha[d] no idea, because I know nothing

  about the mineralogy of talc mines in Vermont or anywhere else.” 242 “Again, nothing

  here is done in a vacuum of just one and nothing else.” 243

                        c.   Microchemistry (EDXA): Drs. Longo and Rigler
                             properly performed their EDXA analysis


           Energy Dispersive X-ray Spectroscopy (“EDXA”) or energy dispersive

  spectroscopy (“EDS”) 244 “[p]rovides the inorganic, and depending on your



  240
        Dyar Dep. at 201:24-202:10.
  241
        Def. Mem. at 55.
  242
        Dyar Dep. at 240:24-241:11.
  243
        Id. at 134:14-21.
  244
        Longo MDL Dep. at 25:2-5 (EDXA and EDS are the same technique).
                                           70
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  detector, organic chemistry for any particular elongated particulate.” 245 MAS has

  analyzed 200 particles in a National Institute of Standards and Technology

  (“NIST”) standard to generate standards of EDXA. 246 The EDXA determines the

  chemistry, “and the chemistry is unique.” 247 MAS and Drs. Longo and Rigler

  “don’t make any conclusions by eyeballing it.”

           The first thing we do is look at it [the particulate] and say this could
           match the counting rules for a regulated elongated particle.
           It’s at least greater than .5 micrometers in length. These are
           measurements. These are not eyeballing. It has parallel sides and has
           at least a 5-to-1 aspect ratio or greater.

           Then the EDXA for me is taken to see if it is consistent with the ratios
           and patterns I would expect for some - - for the types of regulated
           asbestos fibers we’re looking at.

           And we’re not saying, okay, we’re going to eliminate this type or that
           type. It’s whatever’s present.

           Then the SAED - - so it has a typical amphibole diffraction pattern. If
           it’s anthophyllite, potentially, we’ll rotate the stage 10 to 20 degrees
           to eliminate the once-in-a-blue-moon reflection of fibrous talc that
           some people claim that’s close to anthophyllite.

           And after all that, then we would - - I would say that is a regulated
           asbestos fiber type. It meets all the criteria.

           You keep saying eyeballing. That’s not really much of a term - -
           ….



  245
        Id. at 70:3-6.
  246
        Id. at 118:5-23.
  247
        Id. at 87:19-88:2.
                                              71
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           What we’re doing is we’re looking at a set criteria. No decisions are
           made ahead of time. 248

           As Dr. Longo further explained, there are “no minerals out there that ha[ve]

  all the characteristics of a specific type of a regulated asbestos fiber, and that’s why

  you go through the analytical process. You can get other fibrous materials, but they’ll

  have aluminum or the magnesium-to-silicon ratios are off.” 249 The inseparable three-

  steps cannot be done in a vacuum; one cannot say

           [h]ere’s just an EDS pattern, I’m not going to give you any other
           information, I’m not going to let you look at what kind of - - it’s a
           fibrous structure or it’s a particulate. Not going to let you look at the
           SAED patterns.

           It’s not following the procedure we’ve used here for all these samples.
           So I can’t comment on something that I wouldn’t do as an expert
           coming in here just looking at an EDS pattern with - - EDXA pattern
           without any other information.

           …

           No. I wouldn’t just take an EDS pattern by itself and then run it to see
           what other possible minerals in the world have the same elements.

           I would only be testifying here that this is tremolite - - regulated
           tremolite asbestos based on the entirety of the analysis that’s done for
           each of these fibers or bundles. 250

           No accreditation program, laboratory or otherwise, “require[s] you to run

  weight percentages, oxides, or any of that. You have to demonstrate your ability to


  248
        Id. at 92:6-93:25.
  249
        Id. at 73:6-25.
  250
        Id. at 127:13-128:18.
                                               72
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  identify regulated asbestos. We’ve never had it be suggested that we are

  misidentifying tremolite in any circumstance.” 251 Quite simply, none of the testing

  methodologies used by MAS and Drs. Longo and Rigler—ISO 22262-1, ISO 22262-

  2 or Dr. Yamate—require that quantitative data be generated in order to analyze the

  chemical structure of a particle. 252

           J&J’s expert, Dr. Dyar is unable to cite any standard requiring the EDXA data

  formula printouts. 253 In fact, Dr. Dyar cannot even point to a standard that requires

  a printout of the quantitative data similar to figure 7 of her report for purposes of

  analyzing the chemical structure of a mineral to determine whether it’s consistent

  with asbestos. 254 To be sure, Dr. Dyar agrees that it’s not necessary to print out the

  chemical composition if you already know what it is. 255 This principal would seem

  to apply when you have fewer choices and when asbestos is known to occur in the

  type of samples being reviewed. Dr. Dyar notes that if you have “no idea and no

  independent constraints on what mineral it could be or what the composition could

  be”—it is your “obligation to produce as much quantitative information as




  251
        Id. at 88:12-23.
  252
        Dyar Dep. at 126:1-131:10
  253
      See Expert Report of Melinda Darby Dyar, Ph.D. (“Darby Report”) at 23,
  attached hereto as Exhibit 110; Dyar Dep. at 126:1-131:10.
  254
        Dyar Dep. at 124:14-131:17; 137:2-139:9.
  255
        Id. at 155:25-157:1.
                                             73
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  possible.” 256 However, this obligation, and J&J’s attempts to impart it on MAS and

  Drs. Longo and Rigler, ignores the experience and knowledge of MAS and Drs.

  Longo and Rigler surrounding EDXA identification of asbestos materials. MAS and

  Drs. Longo and Rigler were not looking for asbestos in an “unconstrained”

  environment; they were looking for asbestos in the context of the testing of historical

  samples where the mine or source of origin was known.

              When confronted with numerous examples of EDS/EDXA analysis without

  quantitative data, including her own material, Dr. Dyar agreed that quantitative data

  was not always necessary. 257 In fact, Dr. Dyar acknowledged that it would not be

  appropriate to bring out the chemical analyses where the possible mineral was

  known based on independent studies. 258 Yet, the results of the 1991 peer-reviewed

  and published independent study of Dr. Blount’s analysis of Vermont talc is

  remarkably similar to MAS and Drs. Longo and Rigler’s findings, but completely

  ignored by Dr. Dyar and J&J.

              Finally, neither MAS nor Drs. Longo and Rigler have redacted EDXA

  information. 259 And, J&J’s claims of prior redactions and forceful admissions are




  256
        Id. at 156:21-157:1.
  257
        Id. at 158:5-8.
  258
        Id.
  259
        Longo MDL Dep. at 88:3-11.
                                            74
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  devoid of merit. Of primary import is the inarguable fact that the data purportedly

  nefariously removed in the referenced situation has absolutely nothing to do with

  EDXA information. The referenced situation involved excel spread sheets,

  automatic population, analytical sensitivity, and detection limits. 260 Also important,

  when given the opportunity to clarify, Dr. Longo testified the excel spreadsheets

  automatically populate the removed data, the data was removed because “it’s for

  different types of analyses,” and the removed data altered no part of the analysis,

  testing, or reported findings 261 This testimonial clarification was not only accepted

  by the jury, who rendered a verdict in favor of the ovarian cancer victims, but the

  district court in its later denial of J&J’s motion for a new trial which addressed this

  issue.

                        d.      Polarized Light Microscopy (PLM)

           Polarized light microscopy (“PLM”) is “a very involved analysis.” 262 Using

  PLM, the analyst can perform various analyses. For example, dispersion staining,

  which does not actually involve staining, is “just a matter of changing the

  characteristics of the optical microscope, cutting the light down and changing the F-

  stop.” 263 Under dispersion staining, the light is being refracted around the fiber or


  260
        Longo at Ingham Tr.
  261
        Id. at 1219:20-23, 1221:19-1222:4, 1222:25-1223:4.
  262
        Longo at Schmitz Tr. at 192:21.
  263
        Id. at 188:13-189:16.
                                            75
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  bundle, and because of the color of the light being refracted around the fiber or

  bundle under polarized light, the fiber or bundle gives off a certain color. 264 That

  color, along with its positioning to the light, for example parallel and coming in a

  single direction, is called a vibration, but is actually a wavelength of light. 265 After

  identifying the color (wavelength), the analyst will look up the color and be provided

  the corresponding refractive indices. 266 The analyst can also rotate the light, so that

  the light is going through at a different direction, which will provide a different color

  and different corresponding refractive indices. 267

              The analyst can also examine the extinction angle. 268 To ascertain the

  extinction angle, the analyst will “keep turning it to some point and the light refracted

  through the material will be the same as the light around the material on a particular

  angle, causing the light to disappear. 269 When the light disappears, this is called the

  extinction angle. 270




  264
        Id.
  265
        Id.
  266
        Id.
  267
        Id. at 189:25-190:5.
  268
        Id. at 190:13-23.
  269
        Id.
  270
        Id.
                                             76
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              The analyst can also analyze the elongation. To perform elongation, the

  analyst uses a 530-nanometer filter that changes the vibration of the light. 271

  Elongation informs the analyst “how fast the light goes through the crystal via the

  orientation … and the particular colors will tell you what type of asbestos this is.” 272

              As with any analytical procedure, PLM has its strengths and limitations. “The

  strengths of the method are that it can positively identify the different regulated

  asbestos mineral types and provide a qualitative estimate of the weight percent of

  asbestos.” 273 As stated before, ISO 22262-1 notes the limitations of PLM in the

  detection of asbestos because of the limited resolution of the optical microscope and

  the masking effects of other materials. 274 Dr. Longo testified accordingly, stating the

  optical technique polarized light microscopy is a very good technique as long as the

  amount of asbestos in there is high enough for it to detect. 275 In some cases when

  testing the historical talcum powder samples the use of regular PLM will be non-

  detectable, in “[s]ome cases you do find it [regulated asbestos] by regular PLM.” 276

  “Both techniques [TEM and PLM] have their strengths and weaknesses. This type



  271
        Id. at 192:10-20.
  272
        Id.
  273
        Longo and Rigler MDL Report at 5.
  274
        ISO 22262-1 at vii.
  275
        Longo at Schmitz Tr. at 93:22-25.
  276
        Id. at 106:17-107:3.
                                                77
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  of analysis [the analysis of talcum powder], in my opinion, needs the suite of

  techniques: the PLM, the Blount PLM, and TEM.” 277

           Recognizing the strengths and limitations, MAS and Drs. Longo and Rigler

  utilized PLM, along with the techniques of ISO 22262-1, and the peer-reviewed and

  published Blount PLM method. 278 J&J criticizes Drs. Longo and Rigler’s

  methodology in relation to 37 samples analyzed by Lee Poye of J3 Resources. 279 Of

  the 37 samples:

        • 21 were tested using ISO PLM by MAS and Drs. Longo and Rigler;

        • 37 were tested using ISO PLM by J3; and

        • 37 were tested using Blount PLM by MAS and Drs. Longo and Rigler. 280

           As shown above, only 21 samples were tested using ISO PLM by MAS and

  Drs. Longo and Rigler. So, although 37 samples were tested using ISO PLM by J3,

  only 21 samples are available for comparison between the two laboratories. Of the

  21 samples tested: 13 of the samples were no-detects by both MAS and J3, and only

  8 of the samples detected regulated asbestos by MAS and Drs. Longo and Rigler and

  were no-detects by J3.Contrary to J&J’s assertions that these results establish a lack




  277
        Longo MDL Dep. at 163:22-164:16.
  278
        Longo and Rigler MDL Report at 7-8.
  279
        Def. Mem. at 76-78.
  280
        Id. at 49-51.
                                           78
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  of consistency and reliability and MAS and Drs. Longo and Rigler again “failed their

  own test,” the variation in these results is neither atypical of the scientific process

  nor illustrative of a failure to apply sound methodology. Although both MAS and J3

  follow the ISO 22262-1 method, neither straying from nor using “any different

  methodology,” “the time [spent analyzing], high resolution, aberration-corrected

  lenses, [and] [real-time view] digital cameras” employed exclusively by MAS can

  and do occurrence unharmonious findings. 281 Dr. Longo has also testified generally,

  explaining that the variation in these, or any other similar results is neither atypical

  of the scientific process nor illustrative of a failure to apply sound methodology.

           Q. Okay, if you took a split from a single bottle and you had two
              analysts look at it, would you expect them to identify the same
              kinds of asbestos, assuming there was asbestos spotted?

           <objection>

           A. Not necessarily, no.

           Q. Okay. So one could say I see tremolite and another could say I see
              anthophyllite and you don’t think that it - - that demonstrates a
              problem?

           <objection>

           A. If the chemistry is right, the - - and they have identified it correctly,
              no. Many of these samples have two types of asbestos in it. 282
           ….



  281
        Longo at Leavitt Tr. at 189:22-190:12, 194:20-195:11.
  282
        Longo MDL Dep. at 51:17-52:6.
                                               79
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           Q. If one of you scientists looked at a J&J bottle of talc and found a
              particular concentration of a particular kind of asbestos, would you
              - - do you believe to within a scientific - - a degree of scientific - -
              reasonable scientific degree of certainty that at second scientists
              following proper procedures would find the same?

           <objection>

           A. I think we already talked about this. I would never expect a second
              scientist or a second analyst going in with a separate prep sample
              finding the exact amount. And again, it depends on how many is
              there.

              We did discuss this once. If it’s one or two and the second analyst
              found none, that’s in the margin of error, or it’s looking for the
              needle in the haystack sort of analogy.

              If one analyst found 50 and the other found zero, yes, that’s a
              problem, like we already discussed. Again, I would have to look at
              the data to determine if it’s a problem or not. 283

           With regard to J&J’s contention that “there were only three instances where

  Drs. Longo and Rigler detected asbestos by Blount PLM where they did not by ISO

  PLM[,] [b]ut there were as many instances where they detected asbestos by ISO

  PLM where they did not by Blount,” 284 such contention is incorrect. Again, only 21

  samples were tested using ISO PLM by MAS and Drs. Longo and Rigler. So,

  although 37 samples were tested using Blount PLM by MAS and Drs. Longo and

  Rigler, only 21 samples are available for comparison between the two techniques.




  283
        Id. at 55:11-56:8.
  284
        Def. Mem. at 77; see also id. at chart at 77-78.
                                               80
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  Of the 21 samples tested: 10 samples were no-detects under both ISO PLM and

  Blount PLM, 6 samples detected regulated asbestos under both ISO PLM and Blount

  PLM, 3 samples detected regulated asbestos under Blount PLM and were no-detects

  under ISO PLM, and 2 samples detected regulated asbestos under ISO PLM and

  were no-detects under Blount PLM. Accordingly, there were not as many instances

  where regulated asbestos was detected by ISO PLM and not detected by Blount PLM

  as there were instances where regulated asbestos was detected by Blount PLM and

  not detected by ISO PLM. Further, Blount PLM is not without its own strengths and

  limitations. One such limitation is that the density of low-iron anthophyllite is

  comparatively equivalent to the density of liquid used for separation; that is, the low-

  iron anthophyllite will float to the top after separation, not fall down to the bottom. 285

  ISO PLM does not suffer from the same inability to detect low-iron anthophyllite.

  Lastly, using Blount PLM, approximately 57% (41/72 historical samples) were

  positive for detectable levels of regulated asbestos. 286 Comparatively, using ISO

  PLM approximately 32% (18/56 historical samples) were positive for detectable

  levels of asbestos. 287 In view of this, the overall PLM findings revealed a greater

  percentage of samples positive for detectable levels of regulated asbestos using



  285
        Longo MDL Dep. at 132:12-20, 318:14-319:7, 355:17-356:6.
  286
        Longo and Rigler 2nd Supp. MDL Report at 8.
  287
        Id. at 7.
                                              81
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  Blount PLM, supporting the construction that using heavy liquid separation

  (concentration) would increase the analytical sensitivity of the PLM analysis.

           Finally, as to J&J’s claim that neither MAS nor Drs. Longo and Rigler can

  “reliability [sic] differentiate between bundles and fibers when using PLM[,]” 288

  such claim is devoid of merit. To be clear, MAS and Drs. Longo and Rigler “[w]ere

  not using our methodologies [for PLM analyses,] [w]e’re using the standard protocol

  methodologies.” 289 Determinations of whether a fiber or bundle is regulated

  asbestos, and ultimate determinations as to whether the PLM was positive for

  asbestos are not mere opinions rendered by the analyst, but are determined in

  accordance with the applicable protocols. If “[i]t meets the definition[,] it has the

  right crystalline information[,] it meets all the difference definitions … that is not an

  opinion.” 290

           Indubitably, all of J&J’s PLM exclusion claims disregard the Third Circuit’s

  long-standing adage that “[a]s long as an expert’s scientific testimony rests upon

  ‘good grounds, based on what is known,’ it should be tested by the adversary

  process-competing expert testimony and active cross-examination-rather than

  excluded from jurors’ scrutiny for fear that they will not grasp its complexities or



  288
        See Def. Mem. at 78-80.
  289
        Longo MDL Dep. at 216:14-20.
  290
        Id. at 206:18-261:1.
                                             82
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  satisfactorily weigh its inadequacies.” U.S. v. Mitchell, 365 F.3d 215, 244 (3d Cir.

  2004).

        C.     IARC and medical and scientific literature provide reliable
               evidence that asbestos can cause ovarian cancer


        The issue presently before the Court is whether the PSC’s experts have

  presented reliable evidence that the use of J&J’s Talcum Powder Products can cause

  ovarian cancer. The opinions of the PSC’s experts are supported by the totality of

  extensive peer-reviewed literature on 1) migration of particulates within the female

  genital tract or through inhalation, 2) the known carcinogenic constituents in talcum

  powder (including asbestos, fibrous talc, 291 heavy metals, fragrances, and other

  chemicals), 3) the known inflammatory properties of talcum powder, and 4) the

  known role inflammation and oxidative stress play in the pathogenesis of ovarian

  cancer. 292 The overwhelming evidence of the presence of asbestos and fibrous talc




  291
      In relation to fibrous talc, The PSC incorporates by reference the Plaintiffs’
  Steering Committee’s Memorandum of Law in Response and Opposition to
  Defendants Johnson & Johnson’s and Johnson & Johnson Consumer Inc.’s Motion
  to Exclude the PSC’s Experts’ Opinions Related to Heavy Metals and Fragrances
  in Johnson’s Baby Powder and Shower to Shower.
  292
     The PSC incorporates the Plaintiffs’ Steering Committee’s Memorandum of Law
  in Response and Opposition to Defendants Johnson & Johnson’s and Johnson &
  Johnson Consumer Inc.’s Motion to Exclude the PSC’s Experts’ Opinions Related
  to Biological Plausibility and highlights the following important points relating to
  ovarian carcinogenesis resulting from asbestos and fibrous talc.
                                           83
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  in J&J’s Talcum Powder Products provides additional and powerful support of the

  fact that the genital use of talcum powder can cause epithelial ovarian cancer.

                1.    IARC classifies asbestos and talc containing asbestiform
                      fibers as Group 1 carcinogens for ovarian cancer

           Asbestos is universally recognized as a potent human carcinogen. IARC’s

  Monograph 100C (2012) 293 titled “Asbestos (Chrysotile, Amosite, Crocidolite,

  Tremolite, Actinolite, and Anthophyllite)” clearly states: “The conclusions reached

  in this Monograph about asbestos and its carcinogenic risks apply to these six types

  of fibres [chrysotile, actinolite, amosite, anthophyllite, crocidolite, and tremolite],

  and that includes talc containing asbestiform fibres [fibrous talc].” IARC ultimately

  concludes that asbestos causes mesothelioma and cancer of the lung, larynx, and

  ovary.

           In reaching its conclusions regarding carcinogenicity, IARC considers

  exposure data, studies of cancer in humans, studies of cancer in experimental

  animals, and mechanistic and other relevant data. 294 IARC acknowledged that the

  literature examining the association between asbestos exposure and cancer of the

  ovaries was relatively sparse, because the workforce occupationally exposed to




  293
        IARC 2012, at 232.
  294
        IARC 2010, preamble.
                                            84
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  asbestos has been predominantly male. 295 However, IARC still determined the

  evidence to be sufficient.

              First, despite J&J’s misleading arguments to the contrary, 296 IARC did not

  restrict its findings to occupationally exposed women, instead considering

  environmental, household, and general population exposures as well. For the general

  population,         IARC     identified   “[c]onsumer    products    (e.g.   cosmetics,

  pharmaceuticals)” as “the primary sources of exposure to talc for the general

  population.” Further, “inhalation and dermal contact (i.e. through perineal

  application of talcum powders) were considered “the primary routes of exposure”. 297

  Inhalation was considered the primary route of exposure to talc in occupational

  settings. 298 Asbestos and talc fibers can reach the target organ – the ovary – by either

  route. 299 This evidence is clearly relevant to the association between talcum powder

  products and ovarian cancer. 300




  295
        Id. at 253.
  296
        Def. Mem. 20-24; 83-87.
  297
        Id. at 232.
  298
        Id.
  299
        Id. at 232.
  300
     See April 4, 2019 Deposition of Gregory B. Diette, MD (Defs.’ Expert) at
  397:15-399:19, attached hereto as Exhibit 111 (confirming the epidemiologic
  evidence related to asbestos exposure and ovarian cancer served as part of the basis
  for IARC’s conclusion that asbestos can cause ovarian cancer).
                                               85
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              IARC found that a “causal association between exposure to asbestos and

  cancer of the ovary was clearly established, based on five strongly positive studies

  in women with heavy occupational exposure to asbestos.” 301 However, they also

  found that additional support was provided from studies showing that women and

  girls with environmental, but not occupational exposure to asbestos, had positive,

  though non-significant, increases in both ovarian cancer incidence and mortality. 302

  IARC’s comprehensive analysis, as outlined in the Monograph, makes it clear that

  it did not limit its findings about the carcinogenic effect of asbestos on the ovary to

  only those individuals with occupational exposure.

              Moreover, and significantly, J&J cites no support for its assertion that

  occupational exposure would be greater than the exposure of a women who applies

  talcum powder to her genital area regularly (often daily or multiple times per week)

  for an extended period of time. The assertion is made, but without support. There is

  no evidence to allow comparison between the degree of exposure with regular

  perineal talcum powder usage versus that with occupational or household exposure.

  In the case of genital talcum powder application, direct migration to the tubes and

  ovaries presents an important route of exposure, in addition to inhalation (the

  primary route in an occupational or household setting).



  301
        Id. at 256.
  302
        Id.
                                             86
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           Second, J&J’s argument that plaintiffs’ experts primarily rely on studies that

  only involved crocidolite asbestos is misleading and wrong. In reaching their

  opinions on talcum powder exposure and ovarian cancer risk, the PSC’s experts

  relied on the expert scientific review conducted by IARC and the medical and

  scientific literature cited therein. As the Monograph outlines in detail, the Working

  Group reviewed, evaluated and relied on studies that included chrysotile and amosite

  asbestos, not just crocidolite asbestos. 303

           Third, J&J argues that the results of the studies considered by IARC may be

  “potentially inflated due to other diseases, such as peritoneal mesothelioma, being

  misclassified as ovarian cancer.” 304 The Working Group “carefully considered the

  possibility that peritoneal mesothelioma may have been misdiagnosed as ovarian

  cancer”, but rejected misdiagnosis as an explanation for the observed increased

  risk. 305 A meta-analysis performed by Reid in 2011 found an increased risk of

  ovarian cancer in women exposed to asbestos (non-occupational and

  occupational). 306 These authors suggested that misclassification between peritoneal


  303
        IARC, 2012 at 38.
  304
        Def. Mem. at 22-23, 81.
  305
        IARC, 2012 at 256.
  306
     See Reid, A., N. de Klerk, and A. W. Musk. “Does Exposure to Asbestos Cause
  Ovarian Cancer? A Systematic Literature Review and Meta-Analysis.” Cancer
  Epidemiology Biomarkers & Prevention 20, no. 7 (July 1, 2011): 1287–95, attached
  hereto as Exhibit 112.
                                                 87
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  mesothelioma and ovarian serous carcinoma could be contributing to the observed

  risk, concluding that the IARC determination was premature and not wholly

  supported by the evidence. 307 However, the authors stated that “[w]hen only those

  studies that confirmed their ovarian cancer pathology were included in a meta-

  analysis, the effect estimate declined, although remained statistically significant.” 308

           Fourth, the Working Group also considered scientific literature reporting the

  presence of asbestos in ovarian tissue, with both non-occupational and occupational

  exposure to asbestos. Heller and colleagues (1996) found significant asbestos fiber

  burdens in 9 of 13 women with household asbestos exposure and in 6 of 17 women

  who gave no exposure history. 309 This study demonstrated that asbestos can reach

  the ovary and that women with a positive exposure history had asbestos detected

  more frequently and in higher counts. 310 The authors also suggested a possible role

  for sexual contact as a transporting vector for asbestos fibers.311

           In response to IARC’s causal association between exposure to asbestos and

  ovarian cancer, Camargo and colleagues performed a meta-analysis to quantitively


  307
        Id. at 1294.
  308
        Id. at 1292.
  309
     Heller, D. S., et al. “Asbestos Exposure and Ovarian Fiber Burden.” American
  Journal of Industrial Medicine 29, no. 5 (May 1996): 435–39, attached hereto as
  Exhibit 113.
  310
        Id. at 439
  311
        Id. at 438
                                             88
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  evaluate this association in occupational and non-occupational settings. 312

  According to the authors of this study, the results supported the conclusion by IARC

  that exposure to asbestos is causally associated with an increased risk of ovarian

  cancer. 313

           Fifth, in addition to IARC’s assessment and the epidemiological studies

  demonstrating a causal link between asbestos exposure and ovarian cancer,

  additional peer-reviewed medical literature accepts asbestos as a risk factor for

  epithelial ovarian cancer. The Institute of Medicine in their 2016 “state of the

  science” treatise on ovarian cancer identified asbestos as a “specific inflammatory

  factor” associated with ovarian cancer. 314

                  2.   The presence of asbestos (and fibrous talc) provide strong
                       support for the PSC’s experts’ opinions regarding biologic
                       plausibility

           As has been argued extensively in relation to biologic plausibility, the PSC’s

  experts have opined that talcum powder (and all of its constituents including

  asbestos) cause inflammation and inflammation and oxidative stress play a key role


  312
     See Camargo, et al., “Occupational Exposure to Asbestos and Ovarian Cancer:
  AMeta-Analysis.” Environmental Health Perspectives 119, no. 9 (September 2011):
  1211–17 (“Our study supports the IARC conclusion that exposure to asbestos is
  associated with increased risk of ovarian cancer.”), attached as Exhibit 114.
  313
        Id. at 1216.
  314
     National Academy of Sciences, Engineering, and Medicine. 2016. Ovarian
  cancers: Evolving paradigms in research and care. Washington, DC: The National
  Academies Press.
                                             89
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  in the pathogenesis of ovarian cancer. IARC’s discussion of the biological

  plausibility of an association between asbestos exposure and ovarian cancer

  (contained in Section 4 of the Monograph) provides additional support of the PSC’s

  experts’ opinions. IARC found that there was a biologically plausible relationship

  between asbestos exposure and ovarian cancer in part because there are similarities

  between the pathogenesis of asbestos-related malignancies wherever they occur. 315

  In support of its finding on biological plausibility, IARC relied in part on an

  experimental study that found that intraperitoneal injection of tremolite asbestos in

  guinea-pigs and rabbits produced epithelial changes in the ovaries “similar to those

  seen in patients with early ovarian cancer.” 316

           The mechanism by which asbestos and talc fibers can cause cancer is well-

  described in the scientific literature. IARC proposed direct and indirect mechanisms,

  both associated with inflammation. In the direct mechanism, mineral fibers are

  shown to generate free radicals that directly induce genotoxicity as assess by DNA

  breaks and oxidized bases in DNA. In the indirect mechanism, asbestos fibres induce

  macrophage activation and persistent inflammation that generate reactive oxygen

  and nitrogen species contributing to tissue injury, genotoxicity, and epigenetic

  alterations. Persistent inflammation and chronic oxidative stress have been



  315
        IARC, 2012 at 257.
  316
        Id. at 281
                                            90
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  associated with the activation of intracellular signaling pathways, resistance to

  apoptosis, and stimulation of cell proliferation. 317

        Defense Expert Brooke Mossman, in her 2018 review article on in vitro

  mechanisms for the carcinogenesis of “EMPs” (elongated mineral particles or

  fibers), confirms the mechanisms outlined by IARC in 2012, whereby long EMPs

  appeared to be promoters of cancers via a number of mechanisms such as

  inflammation, generation of oxidants, and instigation of cell division through

  epigenetic and signaling cascade processes. 318

        Prior to this MDL, J&J and its consultants admitted that the presence of

  asbestos in J&J’s Talcum Powder Products would present a biologically plausible

  explanation for the association between its products and ovarian cancer. Michael

  Huncharek, M.D. and Joshua Muscat, Ph.D., former J&J consultants and litigation

  experts, published their views that talcum powder contaminated with asbestos

  establishes biologic plausibility between the association of genital talcum powder




  317
    IARC, 2012 at 294.
  318
    Mossman, Brooke T. 2018. “Mechanistic in Vitro Studies: What They Have Told
  Us about Carcinogenic Properties of Elongated Mineral Particles (EMPs).”
  Toxicology and Applied Pharmacology, July, attached as Exhibit 115.

                                             91
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  use and ovarian cancer. 319 Notably, J&J has now abandoned them as litigation

  experts.

        In a 2007 article, Muscat and Huncharek wrote: “If one is exposed to a mixture

  of talc and asbestos, it is reasonable to expect a carcinogenic effect as it contains a

  known carcinogen.” 320 And again, these J&J consultants wrote in 2011:

               Clearly, [talcum powder] products could possibly
               represent a carcinogenic risk secondary to the asbestos
               contamination. It should be pointed out that this in no way
               implicates talc as a toxin as the problematic constituent of
               such products was the asbestos fibers, not talc. 321

        The evidence supporting the fact that J&J’s products contain asbestos (fibrous

  talc and other carcinogens) and that asbestos can cause epithelial cancer is robust,

  relevant and reliable. Plaintiffs’ causation experts properly rely on the overwhelming

  evidence that J&J Baby Powder and Shower to Shower contained asbestos (and other

  known carcinogens including fibrous talc). The presence of these carcinogens




  319
    See September 25, 2018 Deposition of Joshua E. Muscat, Ph.D. (“Muscat
  Dep.”) at 276:2-277:10, excerpts attached as Exhibit 116.
  320
     Michael Huncharek, et al., Use of Cosmetic Talc on Contraceptive Diaphragms
  and Risk of Ovarian Cancer: a Meta-Analysis of Nine Observational Studies, 16
  Eur. J. Cancer Prev. 422 (2007), attached as Exhibit 117.
  321
     Michael Huncharek & Joshua Muscat, Perineal Talc Use and Ovarian Cancer
  Risk: a Case Study of Scientific Standards in Environmental Epidemiology, Eur. J.
  Cancer Prevention (2011), attached as Exhibit 118.

                                            92
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  provides a credible biologic explanation for the association between talcum powder

  use and ovarian cancer.

          D.    Reliable scientific evidence establishes that asbestos was present in
                the talc used to source J&J’S Talcum Powder Products

          Despite significant evidence to the contrary, J&J claims that the PSC lacks

  reliable scientific proof that asbestos was present in the talc ore used to source the

  products. J&J attempts to do this by going through test results and pointing out a few

  selected examples that were inadvertently included and not from the correct mines

  or talc that was used for industrial purposes. However, they were only able to do this

  for a handful of samples and Drs. Krekeler and Cook cite many more samples that

  J&J was not able to criticize. Even if the PSC concedes every specific instance J&J

  cites, there are over a hundred others that still stand as positive for asbestos or fibrous

  talc.

                1.    The methodology and evidence relied upon by Drs. Cook and
                      Krekeler is proper

          In addition to cherry-picking a handful of inconsistent test results and

  samples, J&J attempts to undermine the PSC’s experts Drs. Cook’s and Krekeler’s

  methodology and document sources. However, both experts lay out their

  methodology and data throughout their reports and deposition testimony. In reaching

  his opinions, Dr. Krekeler evaluated the data including but not limited to x-ray

  diffraction data, core data, electron microscopy data, bulk chemistry data,


                                              93
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  descriptions of the ore and minerals and other relevant information. 322 He also did

  extensive literature searches and reviewed the available peer-reviewed literature. 323

  Dr. Krekeler also relied on published books regarding the geology of Vermont, Italy

  and China to the extent they were available, and other materials that geologists

  commonly rely on including the U.S. Geological Survey from the U.S. Bureau of

  Mines. 324 He used these methods and reliance materials which are generally accepted

  in the field of geology and would be expected if he was working as a consultant in a

  company reviewing a mine. 325 He also reviewed corporate documents and corporate

  deposition testimony. 326 Dr. Krekeler relied on his experience and methodology

  from both the academic and private sector in preparing his opinions.327

           Dr. Cook also did extensive research and document review to compile his

  report. He reviewed published literature and corporate documents provided in the

  litigation. 328 He followed standard research methodology with the same attention to

  322
    See January 25, 2019 Deposition of Mark Krekeler, Ph.D. (“Krekeler Dep.”) at
  324:2-11, attached hereto as Exhibit 119.
  323
        Id. at 325:14; Krekeler Report at 2.
  324
        Krekeler Dep. at 324:12-325:1.
  325
        Krekeler Dep. at 324:9-11; 325:2-5.
  326
        Krekeler Report at 2.
  327
        Id. at 2
  328
     See January 30, 2019 Deposition of Robert Cook, Ph.D. (“Cook Dep.”) at 456:1
  to 458:5, attached hereto as Exhibit 120; Cook Report at 3, Cook Report Ex. B at
  3.
                                               94
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  detail he used as a professor of geology, 329 as well as the same methodology he

  practices as a consultant for mining companies. 330

           J&J claims that Drs. Krekeler and Cook improperly support their opinions

  with identical charts 331 assembled wholly by Plaintiffs’ counsel. This ignores the

  testimony of both experts. Dr. Krekeler testified in his deposition that he reviewed

  documents, then selected certain documents for Plaintiffs’ counsel to compile in a

  chart format. 332 Dr. Cook made it clear that the chart was composed of documents

  that he had seen, reviewed and summarized in narrative form. He testified that after

  he saw and digested the Hopkins chart he thought it would be better to present the

  results in a chart. While the attorneys for plaintiffs performed the clerical function

  of creating the chart, Dr. Cook checked it and states clearly that the documents were

  not new. 333 Both experts reviewed the documents and requested that charts be made.

  Rather than artificially create two separate charts based on the same documents,

  Plaintiffs’ counsel compiled the data at the request of Drs. Krekeler and Cook. Both




  329
        Cook Dep. at 460:19 to 461:20
  330
        Cook Dep. at 461:22 to 462:16
  331
     These two charts include test results positive for asbestos and test results
  positive for fibrous talc.
  332
        Krekeler Dep. at 40:6-41:14.
  333
        Cook Dep. at 55:19 to 57:10; 57:18-57:24; 58:10-59:2; 60:3-60:8.
                                            95
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  experts requested the creation of the charts, reviewed the underlying documents,

  reviewed the charts and contributed to the entries.

           Using the charts as an example, J&J claims that Drs. Cook and Krekeler may

  not be used “as a mere vessel through which to funnel ‘information provided to her

  by a party.’” 334 However J&J cites State Farm Fire & Cas. Co 335 where an expert

  was excluded for doing an improper analysis and using data from “two difference

  sources rather than two comparable sources. “ 336 The Court noted that the expert

  “had not confirmed that her analysis was comparing apples to apples rather than

  apples to oranges.” 337 Although the information had come from counsel, it was not

  excluded for that reason. Here, there is no comparable statistical comparison being

  made and while Counsel compiled the charts – that is all they did.

           As the charts were used in their expert reports, J&J claims that Drs. Krekeler

  and Cook relied on counsels’ summary of the evidence. Nothing could be farther

  from the truth. J&J’s reliance on Crowley v. Chait 338 for the proposition that experts

  cannot rely on a summary of the record evidence prepared by a party’s counsel is




  334
        Def. Mem. at 94
  335
    State Farm Fire & Cas. Co v. Electrolux Home Prods., Inc., 980 F. Supp. 2d
  1031 (N.D. Ind. 2013).
  336
        Id. at 1038.
  337
        Id. at 1039.
  338
        322 F. Supp. 2d 530 (D.N.J. 2004).
                                             96
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  misplaced. That case is distinguishable as the only evidence the expert relied on was

  a summary of 8 depositions out of 150 that were available. The court noted that the

  expert did little independent research and his conclusions were based on a highly

  filtered version of events. Here, Drs. Krekeler and Cook reviewed relevant literature

  and hundreds of (documents including geology analyses, reports, maps, core logs,

  test results, among other) and each wrote their own reports. These results are from

  documents that the experts reviewed and are included on their reliance lists. The

  chart was created so the court can easily see the information. 339

                 2.    The materials relied upon by Drs. Cook and Krekeler
                       support their reports and conclusions

           Drs. Cook and Krekeler both reviewed hundreds of documents. 340 Each expert

  did their own research including literature searches and reviewed corporate

  documents and deposition testimony. 341

           J&J argues that the counsel-selected documents on which Drs. Cook and

  Krekeler rely fail to furnish a reliable basis for their conclusions. 342 Yet, the only

  documents supplied by Counsel were requested by the experts. As all corporate

  documents are in Plaintiffs’ counsel’s custody, the only avenue to produce them is



  339
        Krekeler Dep. 40:6- 41:14; Cook Dep. at 55:19- 57:10.
  340
        Cook Dep. at 457:23-458:5.
  341
        Krekeler Dep. at 324:2-325:15; Cook Dep. at 456:1 to 458:5
  342
        Def. Mem. at 96.
                                            97
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  through counsel. Each expert requested certain types of documents and an expert’s

  selection of scientific publications or other relevant materials for review goes to the

  weight of the expert’s opinions and credibility, not the testimony’s admissibility.343

  The opposing party can confront the expert on cross-examination and use their own

  experts to challenge the scope of the expert’s review. 344 Even when an expert

  allegedly “ignores” studies or information that support a party’s contrary position,

  “it is not the province of the court to choose between the competing theories when

  both are supported by reliable scientific evidence.” 345 Dr. Krekeler could not

  independently obtain corporate documents, so all documents by necessity would be

  selected by counsel. 346 However, he requested and reviewed documents that he

  would have relied on in his normal course of his role as a geologist. 347 The same is

  true of Dr. Cook.

              J&J goes through a number of sources claiming that each are not supportive

  of the experts’ conclusions and therefore the entire report should be excluded. J&J




  343
    In re Bair Hugger Forced Air Warming Devices Products Liability Litigation,
  2017 WL 6397721, at *7 (D. Minn. Dec. 13, 2017).
  344
        Id.
  345
    Kuhn v. Wyeth, Inc., 686 F.3d 618, 633 (8th Cir. 2012); see also In re NuvaRing
  Prods. Liab. Litig, 2013 WL 791787, at *2-3 (E.D. Mo. Mar. 4, 2013).
  346
        Krekeler Dep. at 325:15-24.
  347
        Krekeler Dep. at 325:24-326:16.
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  ignores the rest of the evidence relied upon by Drs. Cook and Krekeler for their

  opinions.

                 3.    J&J’s efforts to cherry-pick Drs. Krekeler’s and Cook’s
                       reliance materials are misleading

           Drs. Krekeler and Cook reviewed many documents related to the talc mines

  and testing of the ore and finished products. A few examples of documents and

  reports that involve other mines do not negate all the data from the mines that were

  used to source talc. Any mistakes in Drs. Krekeler and Cook’s reports should be

  addressed in cross examination. “Indeed, federal courts have generally found that

  ‘the perceived flaws’ in an expert’s testimony often should be treated as ‘matters

  properly to be tested in the crucible of the adversarial system, ‘not as ‘the basis for

  truncating that process.’” 348

           In trying to use a few examples to exclude many other valid observations, J&J

  mischaracterizes the testimony from Plaintiffs’ experts. For example, when claiming

  that Dr. Cook is citing studies and literature that are not specific to the mines used

  for J&J cosmetic talc products, 349 J&J ignores the fact that Dr. Cook considered

  these materials because they are relevant to the particular region’s geology. Dr.




  348
     Violas v. GMC, 73 F.Supp 2d 452, 462 (D.N.J. 1999). (quoting Walker v.
  Yellow Freigh Sys.,Inc. 1999 U.S. Dist LEXIS 15012, No. CIV.A.98-3565, 1999
  WL 757022, at *8 (E.D.La Sept 24, 1999)).
  349
        Def. Mem. at 98.
                                             99
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  Cook cites a letter from Bill Ashton to the Colorado School of Mines regarding the

  Val Chisone Valley in Italy, which contains the Fontane Mine where J&J talc was

  mined. 350 He cites the letter to document the mineralization of the valley where the

  mine is located. The document speaks generally about the geology and does not

  exclude the mine’s location from its analysis. 351 In addition to that letter, he cites

  numerous other references related to the Italian talc used for J&J’s products that are

  not challenged, including Dr. Pooley’s report from the University of Cardiff and

  multiple corporate documents. 352 Dr. Cook noted that the documents regarding the

  Val Chisone Valley was “general geologic information so that there was a

  foundation upon which the more detailed information could be anchored.” 353

           J&J attempts to do the same thing with Dr. Cook’s descriptions regarding

  Vermont. For example, J&J cites Dr. Cook’s report 354 regarding Vermont to point

  out that various mines were not used for J&J’s products. However, Dr. Cook was

  citing those mines to set “the stage for the geologic framework within which the

  ultramafic rocks occurred…they weren’t intended to point out any character events,


  350
        Exhibit 20 to Cook Deposition.
  351
        Cook Dep. at 246:22 to 249:23.
  352
      See Cook Report at 10 for a section outlining the minerology in Italy and
  numerous corporate documents that discuss the asbestos and fibrous talc found in
  Italian talc.
  353
        Cook Dep. at 458:14-459:3.
  354
        Def. Mem. at 99 citing mines that are not where talc was sourced from.
                                            100
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  any specific mines.” 355 His report notes “the talc deposits described in these

  publications occur as part of the same geological belt as the mines that sourced J&J’s

  Talcum Powder Products.” 356 He does not claim that J&J products were actually

  sourced from those mines. The same is true for Dr. Krekeler. His report discusses

  the Geological Survey that provides information on the Vermont mines and the

  Appalachian Ultramafic Belt. 357 He discusses information generally that describes

  the extensive geologic terrain that includes the talc mines. 358 Both experts gave

  background information and discussed regional geology and its application. Then

  they both looked at the specific mines with core logs, individual tests, analyses, etc.

  Documents reviewed included many core logs and maps 359 and various mine specific




  355
        Cook Dep. at 458:15-21.
  356
        Cook Report at 11.
  357
        Krekeler Report at 10.
  358
        Krekeler Dep. at 315:10-316:6.
  359
     A small set of examples include IMERYS 441340 at 441346, attached hereto as
  Exhibit 121 (Maps of Ludlow Mines and data included in 2008 Annual Report for
  Mineral Resources and Ore Reserves Estimates, Argonaut Mine); IMERYS
  427326 (core Logs), attached hereto as Exhibit 122; IMERYS 427419 (Core drill
  log, includes serpentinite), attached hereto as Exhibit 123; IMERYS 436951 (mine
  aerial pictures and ore description sheets), attached hereto as Exhibit 124;
  IMERYS 427428 (Core Drill Logs for south end of Argonaut mine), attached
  hereto as Exhibit 125; IMERYS 418940 (memo with Argonaut Geology Maps
  attached), attached hereto as Exhibit 126.
                                           101
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  analyses. 360 Evidence from the separate talc deposits are relevant as they are

  geologically related. 361

           J&J cites to two fibrous talc results, one potentially from the Gouverneur

  Mine 362 and one potentially from the Gassett mine, as samples that were not from

  J&J mines. 363 Even if Plaintiffs concede these samples were included in error, there




  360
     Examples include Pltf_IMERYS_00057875 (Downey Ex. 12, Memo re Cyprus
  Ore Reserves), attached hereto as Exhibit 127; Hopkins Exhibit 28 (chart of
  Samples with asbestos); IMERYS 441340 (2008 Annual Report for Mineral
  Resources and Ore Reserves Estimates, Argonaut Mine); IMERYS 501902
  (Geology of and Product Applications for the Argonaut Talc Mine, Ludlow,
  Vermont), attached hereto as Exhibit 128; IMERYS 238270 (1992 Interoffice
  Memo re Hamm Mine Core Drilling fibrous amphiboles observed), attached hereto
  as Exhibit 129; IMERYS 418940 (Mineralogy Analysis of Vermont includes
  report on Tremolite asbestos in Vermont talc), attached hereto as Exhibit 130;
  IMERYS 425354 (Cyprus Ore Reserve Evaluation, Preliminary Summary by R.C.
  Munro noting fibrous actinolite and fibrous tremolite in J&J mines), attached
  hereto as Exhibit 131; IMERYS 427291 (North American Mines, Northeastern
  Ore Bodies, Master Plan, notes actinolite zones), attached hereto as Exhibit 132;
  IMERYS 427326 (Argonaut Core Logs), attached hereto as Exhibit 133; IMERYS
  435992 (Hamm Mine Drill log showing fibrous tremolite), attached hereto as
  Exhibit 134; IMERYS 436000 (Hamm Mine Drill Log showing fibrous actinolite),
  attached hereto as Exhibit 135; JNJ 000245002 (Hammondsville Geology and Ore
  Reserves, showing fibrous talc).
  361
        Krekeler Dep. at 195:22-196:4; 200:3014.
  362
     The documents used by Drs. Krekeler and Cook do not identify the talc as from
  the Gouverneur Mine. See JNJ 000238826; JNJ 000248023, attached hereto as
  Exhibits 136 and 137. Instead, J&J had to take Dr. Cook through multiple
  documents to try to prove this. Cook Dep. 388:21-393:20.
  363
        Def. Mem. at 99-100.
                                           102
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  are still 39 out of 41 positive tests left for the talc. This mistake does not undermine

  the credibility and relevance of the other positive samples. 364

           J&J also complains that Drs. Krekeler and Cook rely on reports and testing of

  non-ore mineral specimens. To prove this J&J relies on its own expert’s

  testimony. 365 Generally, when there are different interpretations that can be given to

  data you have a “classic battle of the experts, a battle in which the jury must decide

  the victor.” 366 The Pooley Report that tests Italian Talc is used as an example of a

  document that tested non-talc mineral inclusions. 367 However, while some of the

  samples were not talc ore, there are numerous samples that specifically state they are

  including I.18, I.19, I.39, and I.41. 368 The I.41 description identifies it as a “specimen

  of talc ore” and notes that it “occasionally contain long prismatic inclusions of




  364
      J&J also attempts to do this with the asbestos brief looking at samples that may
  have come from the Red Hill Mine and the Frostbite Mine. Again, if Plaintiffs
  concede these two instances as mistakes, then there are over 100 positive results
  left in the chart showing asbestos results.
  365
        Def. Mem. at 101.
  366
    Lanzilotti v. Merrell Dow Pharms., 1986 U.S. Dist. LEXIS 23047, 1986 WL
  7832 (E.D. Pa. 1986) (quoting Ferebee v. Chevon Chemical Co., 736 F.2d 1529,
  1535 (D.C.Cir. 1984)).
  367
        Def. Mem. at 101.
  368
        See JNJ 000322351, attached hereto as Exhibit 138.
                                             103
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  tremolite” which Dr. Cook notes in his report is suggestive of fibrous or asbestiform

  minerals. 369

                  4.    Drs. Krekeler and Cook properly rely on test results
                        indicating the presence of asbestos

           Both Drs. Krekeler and Cook describe asbestiform and non-asbestiform

  minerals in their reports. 370 While J&J may point to examples of talc test results that

  only list “tremolite” without distinguishing between the forms, there are others that

  describe the fibers and indicate it is asbestiform. In Dr. Cook’s report, before the

  asbestos chart, he notes that it includes “serpentine asbestos (chrysotile), amphibole

  asbestos, or potentially asbestiform amphiboles.” Anything that is “potentially

  asbestiform” is something for the jury to consider and can be attacked on cross-

  examination. 371 Both reports give examples of results that are clearly asbestos

  including chrysotile, asbestos fibers, fibrous minerals and other descriptions. 372

                  5.    Dr. Krekeler’s testimony regarding cleavage fragments




  369
     Cook Report at 10. See also JNJ 000322351 sample I.19 which notes that the
  sample includes “crystal aggregates of tremolite associated with minor amounts of
  fine fibrous talc.”
  370
        Krekeler Report at 4, Cook Report at 4.
  371
     Daubert, 509 U.S. at 596 (“Vigorous cross-examination, presentation of
  contrary evidence, and careful instruction on the burden of proof are the traditional
  and appropriate means of attacking shaky but admissible evidence.”)
  372
        See Cook Report and Krekeler Report.
                                            104
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           One of the common threads in the Defense Expert reports is the distinction

  between cleavage fragments and asbestos. J&J’s expert Dr. Dyar claims that every

  sample Dr. Longo reviewed that he said was asbestos fibers or asbestos bundles with

  PLM are actually cleavage fragments. 373 So, the argument between cleavage

  fragments and asbestos is an area ripe for disagreement and should be presented to

  a jury. Further, J&J claim that there is no evidence to support any changing of non-

  asbestiform particles into asbestiform particles. This was discussed during Dr.

  Krekeler’s deposition. 374 He stated that to be asbestos it has to meet the definition of

  asbestos including particle size and mineralogy, 375 which holds true regardless of his

  theoretical discussion in his deposition. The United States Supreme Court has

  recognized that there is a range in which experts might reasonably differ on issues

  of science, and that such conflicting evidence should be admitted to aid the jury in

  deciding those issues. 376




  373
        Dyar Dep. at 291:13-24.
  374
        Krekeler Dep. at 77:20-78:11.
  375
        Krekeler Dep. at 104:16-22.
  376
     Kumho Tire Co. v. Carmichael, 526 U.S. 137, 1953 (1999); Ambrosini v.
  Labarraque, 101 F.3d 129, 138-139 (D.C. Cir. 1996) (“there is nothing in Daubert
  to suggest that judges become scientific experts, must less evaluators of the
  persuasiveness of an expert’s conclusion”); Globetti v. Sandoz Pharm. Corp., 111
  F.Supp. 2d 1174, 1176 (N.D. Ala. 2000) (role of fact finder, not judge, is to decide
  whether opinion is correct or worthy of credence).
                                            105
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           J&J also criticizes Dr. Krekeler’s opinions related to health effects. 377 Dr.

  Krekeler is not giving causation opinions related to asbestos, talc or any of the

  possible contaminants. However, minerals, their properties and the levels that are

  safe for humans are included in his experience and training. J&J insinuates that Dr.

  Krekeler oversteps the bounds of his qualifications when he opines that non-

  asbestiform cleavage fragments are similar to asbestos and pose the same risks to

  human health. J&J yet again misrepresents both the words and intent of Dr.

  Krekeler’s testimony. Dr. Krekeler is a mineralogist, and as such concentrates on the

  geology and formation of minerals found within the earth’s crust. Professionally, he

  instructs students on the benefits and risks of these minerals’ extraction and use in

  various applications they may encounter in their own careers as geologists and

  mineralogists. Part of this instruction necessarily involves knowing whether these

  minerals, in any form, may have carcinogenic properties. His statements regarding

  carcinogens and health effects were not intended as a health-related opinions in this

  matter, but as statements of fact learned throughout his education and training.

  IV.      CONCLUSION

           In reaching their opinions, the PSC’s experts—not J&J—employed accepted

  definitions of asbestos and appropriate scientific methodologies in determining that

  J&J’s Talcum Powder Products contained asbestos. The link between asbestos and


  377
        Def. Mem. at 104-109.
                                             106
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  ovarian cancer is fully established in the scientific literature. Finally, there is ample

  evidence in the record establishing the presence of asbestos in the source mines J&J

  utilized. For all the foregoing reasons, this Court should deny J&J’s Motion to

  Exclude Plaintiffs’ Experts’ Asbestos Related Opinions.


  Dated: May 29, 2019                      Respectfully submitted,

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